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                        Case 2:25-cv-00814-BJR Document 7         Filed 05/05/25      Page 1 of 64




     1                                                    THE HONORABLE BARBARA J. ROTHSTEIN

     2
     3

     4

     5
                                     UNITED STATES DISTRICT COURT
     6                              WESTERN DISTRICT OF WASHINGTON
     7                                        AT SEATTLE

     8     KING COUNTY, et al.,
                                                               No. 2:25-cv-00814
     9                                    Plaintiffs,
                  v.                                           DECLARATION OF SUNAREE
    10                                                         MARSHALL IN SUPPORT OF
    11     SCOTT TURNER, in his official capacity              MOTION FOR TEMPORARY
           as Secretary of the U.S. Department of              RESTRAINING ORDER
    12     Housing and Urban Development, et al.,

    13                                    Defendants.
    14

    15           I, SUNAREE MARSHALL declare as follows:

    16           1.      I am over the age of eighteen, competent to testify, and make this declaration

    17    based on my personal knowledge and on my review of relevant business records.
    18
                                          PERSONAL BACKGROUND
    19
                 2.      I am the Director of the Housing and Community Development Division (HCD)
    20
          within the King County Department of Community & Human Services (DCHS). As Director, my
    21
          duties include managing HCD’s work to advance affordable housing development, housing
    22
    23    stability, and housing policy and planning. I have held this position since March 17, 2025 and

    24    served as Acting Director from January to March 2025.
    25           3.      Prior to accepting the role of Director of HCD, I was HCD’s Deputy Director and
    26
          led affordable housing policy, planning, and regional collaboration efforts at King County with a
    27
                                                                                     PACIFICA LAW GROUP LLP
          DECLARATION OF SUNAREE MARSHALL IN SUPPORT                                     401 UNION STREET
          OF MOTION FOR TEMPORARY RESTRAINING ORDER - 1                                       SUITE 1600
                                                                                     SEATTLE, WASHINGTON 98101
                                                                                       TELEPHONE: (206) 245-1700
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                        Case 2:25-cv-00814-BJR Document 7         Filed 05/05/25      Page 2 of 64




     1    focus on equitable development for two years.
     2           4.      In total, I have over 15 years of experience in the housing and community
     3
          development field. For seven of those years I worked for the U.S. Department of Housing and
     4
          Urban Development at its headquarters in Washington, DC. My work focused on housing and
     5
          community development, creating sustainable communities, climate resilience, and social equity
     6

     7    issues. Through this work, I supported cities and regions in advancing access to opportunity

     8    through equitable community planning at the intersection of housing, transportation, and

     9    economic development.
    10           5.      I have a Bachelor of Arts in Architecture and a Bachelor of Science in Civil
    11
          Engineering from the University of California at Berkeley and a Master in City Planning from
    12
          the Massachusetts Institute of Technology.
    13
                  King County’s Homeless Population and Homelessness Assistance Programs
    14

    15           6.      King County is experiencing a severe housing and homelessness crisis.

    16    Thousands of people in King County are homeless on any given night. For example, according to

    17    a January 2024 Unsheltered Point-in-Time (PIT) Count, which takes a snapshot of the number of
    18
          people without housing on a specific date, over 16,000 individuals experienced homelessness,
    19
          with over 58% of those individuals remaining unsheltered. Data from DCHS’s Performance
    20
          Measurement and Evaluation team shows that in 2020, the number of persons experiencing
    21
          homelessness over the course of a year was 40,800.
    22
    23                7. In order to house people experiencing homelessness, King County receives

    24     funding from the U.S. Department of Housing and Urban Development’s (HUD) Continuum of
    25     Care (CoC) program for permanent supportive housing (PSH), which provides long-term,
    26
           affordable housing combined with supportive services for individuals and families experiencing
    27
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                        Case 2:25-cv-00814-BJR Document 7         Filed 05/05/25       Page 3 of 64




     1     homelessness. Through other organizations affiliated with King County, primarily the King
     2     County Regional Homelessness Authority (KCRHA), CoC funds also go towards rapid
     3
           rehousing programs, which help individuals and families in King County exit homelessness and
     4
           return quickly to permanent housing by providing temporary financial assistance and other
     5
           supportive services such as housing search and stability case management.
     6

     7                                   CoC Grants Application Process

     8           8.     King County has applied annually for CoC funding as part of a continuum, since

     9    1995. The Seattle–King County Continuum represents a coalition of stakeholders that includes
    10    King County, other local governments, nonprofit organizations, and other parties. The King
    11
          County Regional Homelessness Authority (KCRHA) submits the CoC application to HUD on
    12
          behalf of the Seattle–King County Continuum.
    13
                 9.     The application process begins when HUD posts a Notice of Funding Opportunity
    14

    15    (“NOFO”). The NOFO includes information on eligibility, application scoring criteria, and

    16    award administration, including a section on “Administrative, National and Departmental Policy

    17    Requirements and Terms for HUD’s Financial Assistance Programs” that lists various statutes
    18
          and regulations with which grantees must comply. Pursuant to the NOFO, the continuum submits
    19
          a system-wide application that describes the local homelessness landscape and the continuum’s
    20
          response along with individual project applications. HUD scores the system-wide application,
    21
          giving points for responses that show progress and align with HUD’s priorities. The NOFO
    22
    23    indicates for how much funding a continuum is eligible to apply. The application score

    24    determines whether and how much money is awarded to the projects included in the continuum
    25    application, with a separate grant agreement for each project. The sum of the grants awarded to
    26
          the individual projects equals the amount awarded to the continuum as a whole.
    27
                                                                                    PACIFICA LAW GROUP LLP
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     1           10.     In July 2024, HUD posted a biennial NOFO for CoC grants for FYs 2024 and
     2    2025. The Seattle-King County Continuum applied for and was awarded approximately $67
     3
          million of FY 2024 CoC funding subject to grant signature.
     4
                 11.     Of the total $67 million conditionally awarded to the Seattle-King County
     5
          Continuum, HUD awarded King County approximately $38.85 million for 22 individual
     6

     7    agreements, KCRHA approximately $26.85 million for 26 individual agreements, and four

     8    agencies $1.25 million for five individual agreements. Attached as Exhibit A is a true and

     9    correct copy of March 11, 2025 Award Letter from HUD.
    10                          New Conditions Imposed on Awarded CoC Funds
    11
                 12.     On or about March 26, 2025, King County began to receive the anticipated
    12
          individual grant agreements (CoC Agreements) from HUD for some of the CoC funds granted in
    13
          FY 2024. The CoC Agreements contain additional funding conditions that were not included in
    14

    15    the NOFO and that King County was not aware of when it applied for funding. Specifically, the

    16    CoC Agreements: require King County to agree to conditions related to “gender ideology;”

    17    purport to prohibit diversity, equity, and inclusion; and include requirements pertaining to
    18
          immigration verification and enforcement, and abortion. None of these conditions appeared in
    19
          prior CoC agreements. Attached to this Declaration as Exhibit B is a true and correct copy of
    20
          CoC Agreement WA0045L0T002417, one of the CoC Agreements received by King County that
    21
          includes the additional funding conditions. The first CoC Agreements received need to be signed
    22
    23    no later than May 10, 2025, a regulatory deadline.

    24           13.     On or about April 4, 2025, King County became aware of a letter posted to
    25    HUD’s website to “HUD Grantees and Stakeholders” from Scott Turner, the Secretary of HUD,
    26
          (the “Turner Letter”) directing that HUD funds be used for the benefit of American citizens and
    27
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          OF MOTION FOR TEMPORARY RESTRAINING ORDER - 4                                         SUITE 1600
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                        Case 2:25-cv-00814-BJR Document 7          Filed 05/05/25      Page 5 of 64




     1    other qualified recipients, and not undocumented immigrants and that the conditions pertaining
     2    to immigration enforcement and verification comply with President Trump’s Executive Order
     3
          14218. Attached as Exhibit C is a true and correct copy of the Turner Letter.
     4
                 14.     These new conditions are difficult, if not impossible, to meet. To begin, the
     5
          immigration verification condition requires King County to agree to “administer its grant in
     6

     7    accordance with all applicable immigration restrictions and requirements, including the

     8    eligibility and verification requirements that apply under title IV of the [PRWORA] and any

     9    applicable requirements that HUD, the Attorney General, or the U.S. Center for Immigration
    10    Services may establish from time to time to comply with PRWORA, Executive Order 14218, or
    11
          other Executive Orders or immigration laws.” This requires that King County use the Systematic
    12
          Alien Verification for Entitlements (SAVE) system or an equivalent verification system
    13
          approved by the federal government. King County DCHS has never been asked to verify
    14

    15    immigration status in the past to administer CoC funds and thus does not have access to SAVE

    16    or an equivalent verification system from the federal government. Therefore, King County

    17    DCHS lacks the ability to meet this additional condition required to obtain CoC funding from
    18
          HUD.
    19
                 15.     Our contracts with service providers include the requirement that providers agree
    20
          not to discriminate against applicants based on protected status. Attached to this declaration and
    21
          marked as Exhibit D is a true and correct copy of a provider agreement that includes
    22
    23    antidiscrimination obligations. It is important to DCHS that its providers offer services in a

    24    manner that is consistent with state law and County code provisions that prohibit discrimination
    25    based on protected status.
    26
                 16.     The condition prohibiting grant recipients from “promoting” abortions is vague. I
    27
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          DECLARATION OF SUNAREE MARSHALL IN SUPPORT                                        401 UNION STREET
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                        Case 2:25-cv-00814-BJR Document 7          Filed 05/05/25      Page 6 of 64




     1    have concerns that it could be interpreted to include case manager referrals to physical and
     2    behavioral healthcare providers. Such providers may offer abortions, in addition to many other
     3
          healthcare services. If the term “promoting” covers healthcare referrals to places that offer
     4
          abortions in addition to other medical care, then this condition would effectively prevent case
     5
          managers from referring clients to healthcare resources for a wide variety of medical treatment.
     6

     7                                  Negative Impacts of Losing Funding

     8           17.     These newly imposed conditions force King County to either agree to new

     9    conditions imposed on the grants already awarded to the County, including conditions
    10    impossible to comply with, or lose access to more than $38 million in funding that is critical to
    11
          the welfare of program participants. The impacts of losing these funds would be devastating for
    12
          several reasons. As an initial matter, the 22 individual grants awarded to King County are all
    13
          renewals, meaning that King County has previously received CoC awards for these projects,
    14

    15    which are currently housing formerly homeless individuals. HUD provides funding for and

    16    prioritizes renewal awards in its annual competitive funding round. If King County does not

    17    receive the CoC funds this year, the projects would no longer be considered renewals and as such
    18
          existing PSH would not be eligible to apply as new projects in future years. With likely
    19
          reductions of funding for HUD in future federal budget cycles and given the competitive nature
    20
          of CoC awards, this would likely mean forfeiting these funds for the foreseeable future, not just
    21
          for the FY 2024 round.
    22
    23           18.     Next, the loss of funding would negatively impact King County because King

    24    County has already begun the contracting process with service providers in reliance on receiving
    25    the CoC funds. Providers have already begun to incur costs and expect the County to reimburse
    26
          them. Typically, the timeline for renewing contracts with providers of services is ahead of the
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                        Case 2:25-cv-00814-BJR Document 7           Filed 05/05/25      Page 7 of 64




     1    timeline for HUD to provide and execute the CoC Agreements. Therefore, King County
     2    contracts with providers ahead of receiving and signing the final CoC Agreements with HUD.
     3
                 19.     Most recently, when HUD awarded $38.85 million in CoC funding to King
     4
          County for FY 2024, King County began the process of renewing agreements with providers for
     5
          their CoC-funded projects. This included agreements with providers beginning between February
     6

     7    and April 2025, for a total of approximately $2 million. Four additional provider agreements

     8    with May or June 2025 start dates total approximately $3.6 million. Funding to make payments

     9    due and/or reimbursed under some of these agreements come from the CoC Agreements that
    10    need to be signed by May 10, 2025. If the County does not receive the FY 2024 CoC funding, all
    11
          these service providers, as well as those with agreements starting later in 2025 and early 2026
    12
          will be significantly and adversely impacted. It is important to remember that the key focus in
    13
          this work is keeping people in housing. In order to do that, it is imperative that housing
    14

    15    providers, with whom King County contracts, receive the funds necessary to support the housing.

    16    2144 households in King County will be impacted by the loss of CoC funds.

    17           20.     At least 700 of the households served with CoC funding live in private market
    18
          rentals, as opposed to housing provided by non-profit organizations with missions associated
    19
          with access to housing. The 700 households reliant on private rentals are at risk of eviction if
    20
          there is even a short term interruption of rent payment. The loss of CoC funding will quite
    21
          simply result in a loss of stable housing for hundreds of households living in private property
    22
    23    rentals. It is hard to even estimate how long it would take to overcome the short term loss of so

    24    many affordable housing units in a housing market as tight as greater Seattle.
    25           21.     Additionally, the loss of CoC funding will impact King County’s ability to sustain
    26
          existing PSH and create additional supportive housing. Current participants in King County’s
    27
                                                                                       PACIFICA LAW GROUP LLP
          DECLARATION OF SUNAREE MARSHALL IN SUPPORT                                        401 UNION STREET
          OF MOTION FOR TEMPORARY RESTRAINING ORDER - 7                                         SUITE 1600
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                        Case 2:25-cv-00814-BJR Document 7            Filed 05/05/25      Page 8 of 64




     1    programs would lose their housing and would be unable to access services they have relied on to
     2    achieve and maintain stability and independence. The loss of funding would also affect future
     3
          participants. King County estimates that more than 308,000 new housing units are needed by
     4
          2044 to house its current and future population. Over 40 percent of these units will need to be
     5
          affordable for households earning at or below 30 percent of the area median income. Many of the
     6

     7    people at this income level need rental assistance and some also need supportive services to

     8    maintain their housing stability or to exit their current state of homelessness. Finally, the loss of

     9    CoC funding will jeopardize the employment of staff members at King County who sustain these
    10    programs because King County’s budget relies on CoC funding to support staffing. At least five
    11
          staff members within DCHS may lose their jobs, if HUD refuses to fund King County programs.
    12
    13
                 I declare under penalty of perjury that the foregoing is true and correct.
    14

    15
                 EXECUTED this 4th day of May, 2025.
    16

    17                                                                   ______________________________
                                                                               SUNAREE MARSHALL
    18
    19

    20

    21

    22
    23

    24

    25
    26
    27
                                                                                         PACIFICA LAW GROUP LLP
          DECLARATION OF SUNAREE MARSHALL IN SUPPORT                                         401 UNION STREET
          OF MOTION FOR TEMPORARY RESTRAINING ORDER - 8                                           SUITE 1600
                                                                                         SEATTLE, WASHINGTON 98101
                                                                                           TELEPHONE: (206) 245-1700
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            Case 2:25-cv-00814-BJR          Document 7       Filed 05/05/25      Page 9 of 64




1                                    CERTIFICATE OF SERVICE
2
            I hereby certify that on May 5, 2025, I served a true and correct copy of the foregoing
3
     document on the following parties by the method(s) indicated below:
4

5
      Scott Turner                                     ☐ CM/ECF E-service
6     Secretary of Housing and Urban Development       ☐ Email
      U.S. Department of Housing and Urban             ☐ U.S. Mail
7     Development
                                                       ☒ Certified Mail / Return Receipt Requested
      Office of the General Counsel
8     Robert C. Weaver Federal Building                ☐ Hand delivery / Personal service
      451 7th Street SW
9
      Washington, DC 20410
10
      U.S. Department of Housing and Urban             ☐ CM/ECF E-service
11    Development                                      ☐ Email
      Office of the General Counsel                    ☐ U.S. Mail
12    Robert C. Weaver Federal Building
                                                       ☒ Certified Mail / Return Receipt Requested
      451 7th Street SW
13                                                     ☐ Hand delivery / Personal service
      Washington, DC 20410
14
      Sean Duffy                                       ☐ CM/ECF E-service
15    Secretary of Transportation                      ☐ Email
      U.S. Department of Transportation                ☐ U.S. Mail
16    Office of the General Counsel
                                                       ☒ Certified Mail / Return Receipt Requested
17    1200 New Jersey Avenue, SE
      Washington, DC 20590                             ☐ Hand delivery / Personal service
18
      U.S. Department of Transportation                ☐ CM/ECF E-service
19    Office of the General Counsel                    ☐ Email
      1200 New Jersey Avenue, SE                       ☐ U.S. Mail
20
      Washington, DC 20590
                                                       ☒ Certified Mail / Return Receipt Requested
21                                                     ☐ Hand delivery / Personal service
22
      Matthew Welbes                                   ☐ CM/ECF E-service
23    Acting Administrator, Federal Transit            ☐ Email
      Administration                                   ☒ U.S. Mail
24    Federal Transit Administration
                                                       ☒ Certified Mail / Return Receipt Requested
      Office of the General Counsel
25                                                     ☐ Hand delivery / Personal service
      U.S. Department of Transportation, East
26    Building
      1200 New Jersey Avenue, SE
27    Washington, DC 20590
                                                                                PACIFICA LAW GROUP LLP
                                                                                      401 UNION STREET
     CERTIFICATE OF SERVICE - 1                                                           SUITE 1600
                                                                                 SEATTLE, WASHINGTON 98101
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1     Federal Transit Administration                      ☐ CM/ECF E-service
      Office of the General Counsel                       ☐ Email
2     U.S. Department of Transportation, East             ☐ U.S. Mail
3     Building
                                                          ☒ Certified Mail / Return Receipt Requested
      1200 New Jersey Avenue, SE
      Washington, DC 20590                                ☐ Hand delivery / Personal service
4

5     Alex Haas, Co-Director                              ☐ CM/ECF E-service
      Diane Kelleher, Co-Director                         ☒ Email
6     John Griffiths, Co-Director                         ☐ U.S. Mail
7     Eric J. Hamilton, Deputy Assistant Attorney
                                                          ☒ Certified Mail / Return Receipt Requested
      Federal Programs Branch
      Civil Division                                      ☐ Hand delivery / Personal service
8
      U.S. Department of Justice
9     950 Pennsylvania Avenue, NW
      Washington, DC 20530
10

11    alex.haas@usdoj.gov
      diane.kelleher@usdoj.gov
12    john.griffiths@usdoj.gov
      eric.hamilton@usdoj.gov
13
      Teal L. Miller, Acting United States Attorney       ☐ CM/ECF E-service
14
      Rebecca S. Cohen, Civil Division Chief              ☒ Email
15    United States Attorney’s Office for the             ☐ U.S. Mail
      Western District of Washington
                                                          ☒ Certified Mail / Return Receipt Requested
16    United States Attorney’s Office
      700 Stewart Street, Suite 5220                      ☐ Hand delivery / Personal service
17    Seattle, WA 98101-1271
18
      teal.miller@usdoj.gov
19    rebecca.cohen@usdoj.gov

20
            I declare under penalty of perjury under the laws of the United States and the State of
21
     Washington that the foregoing is true and correct.
22

23          DATED this 5th day of May 2025.
24                                                /s/ Gabriela DeGregorio
25                                                Gabriela DeGregorio
                                                  Litigation Assistant
26                                                Pacifica Law Group LLP

27
                                                                                  PACIFICA LAW GROUP LLP
                                                                                       401 UNION STREET
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             EXHIBIT A
      Case 2:25-cv-00814-BJR           Document 7      Filed 05/05/25     Page 12 of 64

                   U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
                                       WASHINGTON, DC 20410-7000


PRINCIPAL DEPUTY ASSISTANT SECRETARY FOR
COMMUNITY PLANNING AND DEVELOPMENT


                                           March 11, 2025

Ms. Kelly Rider
Director, King County DCHS
King, County of
401 5th Avenue Suite 500
Seattle, WA 98104-1537
Dear Ms. Rider:

        Congratulations! I am delighted to inform you of the funding for your project(s) under the
Department of Housing and Urban Development's (HUD) Notice of Funding Opportunity (NOFO)
for Fiscal Year (FY) 2024 Continuum of Care (CoC) Competition and Renewal or Replacement of
Youth Homeless Demonstration Program Grants for a total of $38,851,936.

        The CoC Program is an important part of HUD's mission. CoCs around the country will
continue to improve the lives of people experiencing homelessness through their local planning
efforts and through the direct housing and service programs funded under the FY 2024 CoC
Program Competition. Projects like those of your organization, funded through the CoC program,
continue to demonstrate their value by improving accountability and performance every year.

        The enclosure provides details about your organization's award(s) including: the name(s) of
the individual project(s); the project number(s); and the specific amount(s) for each project. The
Department's field office staff will notify you when they are available to process grant agreements;
once all conditions are satisfied and the grant agreement is executed, your organization can expend
the funds.

       HUD commends your organization's work and encourages it to continue to strive for
excellence in the fight to end homelessness.

                                              Sincerely,




                                              David C. Woll Jr.
                                              Principal Deputy Assistant Secretary
     Case 2:25-cv-00814-BJR      Document 7     Filed 05/05/25   Page 13 of 64

                                        Enclosure

WA0001L0T002415
Valley Cities Landing
276,080

WA0018L0T002417
DESC Consolidated PSH Portfolio #2
3,060,189

WA0034L0T002417
King County Shelter Plus Care Program - TRA
12,690,045

WA0045L0T002417
YWCA Supportive Housing
244,268

WA0053L0T002417
Scattered Site Leasing
1,020,232

WA0213L0T002414
Noel House at Bakhita Gardens
275,223

WA0227L0T002411
Nyer Urness
854,070

WA0228L0T002414
Avalon Place
59,125

WA0239L0T002414
Ozanam House Consolidated PSH
531,986

WA0244L0T002412
Williams Apartments
821,577
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WA0259L0T002412
Patrick Place
219,802

WA0297L0T002410
King County Consolidated Scattered Sites Supportive Housing
9,534,461

WA0316L0T002409
Ronald Commons
214,056

WA0318L0T002409
Sandpoint Families Supportive Housing
415,907

WA0320L0T002409
Family Village Redmond PSH for Families
134,012

WA0344L0T002408
PHG 7th and Cherry
280,403

WA0345L0T002407
DESC Consolidated PSH Portfolio #1
4,973,604

WA0364L0T002408
Cascade Women's Supportive Housing
122,821

WA0384L0T002406
DESC Clement Place Consolidated
2,593,929

WA0390L0T002405
Thea Bowman Apartments
219,316
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WA0466L0T002405
Auburn Family PSH
60,820

WA0482L0T002401
DESC Bloomside
250,010


                                               Total Amount:        $38,851,936
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       Case 2:25-cv-00814-BJR         Document 7        Filed 05/05/25     Page 17 of 64




Grant Number/FAIN: WA0045L0T002417
Recipient Name: King County Department of Community and Human Services -
Community Services Division
Tax ID No.: XX-XXXXXXX
Unique Entity Identifier (UEI) Number: KTY3NEXN42K7



            CONTINUUM OF CARE PROGRAM (Assistance Listing# 14.267)
                          GRANT AGREEMENT


     This Grant Agreement (“this Agreement”) is made by and between the United States
Department of Housing and Urban Development (“HUD”) and King County Department of
Community and Human Services - Community Services Division (the “Recipient”).

     This Agreement, the Recipient’s use of funds provided under this Agreement (the “Grant”
or “Grant Funds”), and the Recipient’s operation of projects assisted with Grant Funds are
governed by

   1. The Consolidated Appropriations Act, 2024 (Public Law 118-42, approved March 9,
      2024);

   2. title IV of the McKinney-Vento Homeless Assistance Act 42 U.S.C. 11301 et seq. (the
      “Act”);

   3. the Continuum of Care Program rule at 24 CFR part 578 (the “Rule”), as amended from
      time to time;

   4. the Notice of Funding Opportunity for FY 2024 and FY 2025 Continuum of Care
      Competition and Renewal or Replacement of Youth Homeless Demonstration Program
      (NOFO), except for references in the NOFO to Executive Orders that have since been
      repealed;

   5. all current Executive Orders; and

   6. the Recipient’s application submissions on the basis of which these Grant Funds were
      approved by HUD, including the certifications, assurances, technical submission
      documents, and any information or documentation required to meet any grant award
      condition (collectively, the “Application”).

      The Application is incorporated herein as part of this Agreement, except that only the
project (those projects) listed below are funded by this Agreement. In the event of any conflict
between any application provision and any provision contained in this Agreement, this
Agreement shall control. Capitalized terms that are not defined in this agreement shall have the
meanings given in the Rule.

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    The Recipient is a Unified Funding Agency (UFA).
    The Recipient is the sole recipient designated by the applicable Continuum of Care.
    The Recipient is not the only recipient designated by the applicable Continuum of Care.

        HUD’s total funding obligation authorized by this grant agreement is $244268, allocated
between the project(s) listed below (each identified by a separate grant number) and, within
those projects, between budget line items, as shown below. The Grant Funds an individual
project will receive are as shown in the Application on the final HUD-approved Summary
Budget for the project. Recipient shall use the Grant Funds provided for the projects listed
below, during the budget period(s) period stated below.


    Grant No. (FAIN)           Grant     Performance        Budget         Total Amount
                               Term      Period             Period
    WA0045L0T002417            12        2/1/2025-          2/1/2025-      $244,268
                                         1/31/2026          1/31/2026
    allocated between budget line items as follows:
        a. Continuum of Care Planning Activities                           $0
        b. Acquisition                                                     $0
        c. Rehabilitation                                                  $0
        d. New construction                                                $0
        e. Leasing                                                         $0
        f. Rental assistance                                               $0
        g. Supportive services                                             $232,987
        h. Operating costs                                                 $0
        i. Homeless Management Information System                          $0
        j. Administrative costs                                            $11,281
        k. Relocation costs                                                $0
        l. VAWA Costs                                                      $0
        m. Rural Costs                                                     $0
        n. HPC homelessness prevention activities:
                  Housing relocation and stabilization services            $0
                  Short-term and medium-term rental assistance             $0


Pre-award Costs for Continuum of Care Planning

       The Recipient may, at its own risk, incur pre-award costs for continuum of care planning
awards, after the date of the HUD selection notice and prior to the effective date of this
Agreement, if such costs: a) are consistent with 2 CFR 200.458; and b) would be allowable as a

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post-award cost; and c) do not exceed 10 percent of the total funds obligated to this award. The
incurrence of pre-award costs in anticipation of an award imposes no obligation on HUD either
to make the award, or to increase the amount of the approved budget, if the award is made for
less than the amount anticipated and is inadequate to cover the pre-award costs incurred.

These provisions apply to all Recipients:

     The Recipient:

           (1) shall not use grant funds to promote “gender ideology,” as defined in E.O. 14168,
               Defending Women from Gender Ideology Extremism and Restoring Biological
               Truth to the Federal Government;

           (2) agrees that its compliance in all respects with all applicable Federal anti-
               discrimination laws is material to the U.S. Government’s payment decisions for
               purposes of section 3729(b)(4) of title 31, United States Code;

           (3) certifies that it does not operate any programs that violate any applicable Federal
               anti-discrimination laws, including Title VI of the Civil Rights Act of 1964;

           (4) shall not use any Grant Funds to fund or promote elective abortions, as required
               by E.O. 14182, Enforcing the Hyde Amendment; and



           (5) Notwithstanding anything in the NOFO or Application, this Grant shall not be
               governed by Executive Orders revoked by E.O. 14154, including E.O. 14008, or
               NOFO requirements implementing Executive Orders that have been revoked.


       The recipient must administer its grant in accordance with all applicable immigration
restrictions and requirements, including the eligibility and verification requirements that apply
under title IV of the Personal Responsibility and Work Opportunity Reconciliation Act of 1996,
as amended (8 U.S.C. 1601-1646) (PRWORA) and any applicable requirements that HUD, the
Attorney General, or the U.S. Center for Immigration Services may establish from time to time
to comply with PRWORA, Executive Order 14218, or other Executive Orders or immigration
laws.

       No state or unit of general local government that receives funding under this grant may use
that funding in a manner that by design or effect facilitates the subsidization or promotion of
illegal immigration or abets policies that seek to shield illegal aliens from deportation.

       Subject to the exceptions provided by PRWORA, the recipient must use SAVE, or an
equivalent verification system approved by the Federal government, to prevent any Federal
public benefit from being provided to an ineligible alien who entered the United States illegally
or is otherwise unlawfully present in the United States.


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      HUD will not enforce provisions of the Grant Agreement to the extent that they require the
project to use a housing first program model.

      As stated in Section III.A.2 of the NOFO, Faith-based organizations may be recipients or
subrecipients for funds under this agreement on the same basis as any other organization.
Recipients may not, in the selection of subrecipients, discriminate against an organization based
on the organization’s religious character, affiliation, or exercise.

      If any new projects funded under this Agreement are for project-based rental assistance for
a term of fifteen (15) years, the funding provided under this Agreement is for the performance
period stated herein only. Additional funding is subject to the availability of annual
appropriations.

      The budget period and performance period of renewal projects funded by this Agreement
will begin immediately at the end of the budget period and performance period of the grant being
renewed. Eligible costs incurred between the end of Recipient's budget period and performance
period under the grant being renewed and the date this Agreement is executed by both parties
may be reimbursed with Grants Funds from this Agreement. No Grant Funds for renewal
projects may be drawn down by Recipient before the end date of the project’s budget period and
performance period under the grant that has been renewed.

      For any transition project funded under this Agreement the budget period and performance
period of the transition project(s) will begin immediately at the end of the Recipient's final
operating year under the grant being transitioned. Eligible costs, as defined by the Act and the
Rule incurred between the end of Recipient's final operating year under the grant being
transitioned and the execution of this Agreement may be paid with funds from the first operating
year of this Agreement.

       HUD designations of Continuums of Care as High-performing Communities (HPCS) are
published on HUD.gov in the appropriate Fiscal Years’ CoC Program Competition Funding
Availability page. Notwithstanding anything to the contrary in the Application or this
Agreement, Recipient may only use grant funds for HPC Homelessness Prevention Activities if
the Continuum that designated the Recipient to apply for the grant was designated an HPC for
the applicable fiscal year.

        The Recipient must use the Grant Funds only for costs (including indirect costs) that meet
the applicable requirements in 2 CFR part 200 (including appendices), as may be amended from
time to time. The Recipient’s indirect cost rate information is as provided in Addendum #1 to
this Agreement. The Recipient must immediately notify HUD upon any change in the
Recipient’s indirect cost rate, so that HUD can amend the Agreement to reflect the change if
necessary.

      HUD notifications to the Recipient shall be to the address of the Recipient as stated in the
Recipient’s applicant profile in e-snaps. Recipient notifications to HUD shall be to the HUD
Field Office executing the Agreement. No right, benefit, or advantage of the Recipient hereunder
may be assigned without prior written approval of HUD.

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    The Recipient must comply with the applicable requirements in 2 CFR part 200, as may be
amended from time to time.

Build America, Buy America Act. The Grantee must comply with the requirements of the Build
America, Buy America (BABA) Act, 41 USC 8301 note, and all applicable rules and notices, as
may be amended, if applicable to the Grantee’s infrastructure project. Pursuant to HUD’s Notice,
“Public Interest Phased Implementation Waiver for FY 2022 and 2023 of Build America, Buy
America Provisions as Applied to Recipients of HUD Federal Financial Assistance” (88 FR
17001), any funds obligated by HUD on or after the applicable listed effective dates, are subject
to BABA requirements, unless excepted by a waiver.

Waste, Fraud, Abuse, and Whistleblower Protections. Any person who becomes aware of the
existence or apparent existence of fraud, waste or abuse of any HUD award must report such
incidents to both the HUD official responsible for the award and to HUD’s Office of Inspector
General (OIG). HUD OIG is available to receive allegations of fraud, waste, and abuse related to
HUD programs via its hotline number (1-800-347-3735) and its online hotline form. You must
comply with 41 U.S.C. § 4712, which includes informing your employees in writing of their
rights and remedies, in the predominant native language of the workforce. Under 41 U.S.C. §
4712, employees of a government contractor, subcontractor, grantee, and subgrantee—as well as
a personal services contractor—who make a protected disclosure about a Federal grant or
contract cannot be discharged, demoted, or otherwise discriminated against as long as they
reasonably believe the information they disclose is evidence of:
      1. Gross mismanagement of a Federal contract or grant;
      2. Waste of Federal funds;
      3. Abuse of authority relating to a Federal contract or grant;
      4. Substantial and specific danger to public health and safety; or
      5. Violations of law, rule, or regulation related to a Federal contract or grant.

     HUD may terminate all or a portion of the Grant in accordance with the Act, the Rule, and
2 CFR 200.340.    The Agreement constitutes the entire agreement between the parties and
may be amended only in writing executed by HUD and the Recipient.

     By signing below, Recipients that are states and units of local government certify that they
are following a current HUD approved CHAS (Consolidated Plan).




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   This agreement is hereby executed on behalf of the parties as follows:

UNITED STATES OF AMERICA,
Secretary of Housing and Urban Development
                          Digitally signed by: MARGARET KELLER
      MARGARET            DN: CN = MARGARET KELLER C = US O = U.
                          S. Government OU = Department of Housing

      KELLER
BY: _________________________________________________
                          and Urban Development, Office of Administration
                          Date: 2025.03.26 08:26:15 -07'00'


     (Signature)

     Margaret M. Keller, Acting CPD Director _______________
      (Typed Name and Title)

     March 26, 2025____________________________________
      (Date/Federal Award Date)


RECIPIENT

King County Department of Community and Human Services - Community Services
Division_______
(Name of Organization)


BY: _________________________________________________
     (Signature of Authorized Official)

     _________________________________________________
      (Typed Name and Title of Authorized Official)

     _________________________________________________
       (Date)




                                                                                                             6
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                                                                                                   OMB Number. 2501-0044
                            Addendum #1 to WA0045L0T002417                                         Expiration Date: 2/28/2027

Indirect Cost Information for Award Applicant/Recipient

  1. Federal Program/Assistance Listing Program Title:
  CONTINUUM OF CARE PROGRAM/Assistance Listing# 14.267
  2. Legal Name of Applicant/Recipient:

  3. Indirect Cost Rate Information for the Applicant/Recipient:
     Please check the box that applies to the Applicant/Recipient and complete the table only as provided by
     the instructions accompanying this form.

            The Applicant/Recipient will not charge indirect costs using an indirect cost rate.

            The Applicant/Recipient will calculate and charge indirect costs under the award by applying a de
            minimis rate as provided by 2 CFR 200.414(f), as may be amended from time to time.
            The Applicant/Recipient will calculate and charge indirect costs under the award using the indirect cost
            rate(s) in the table below, and each rate in this table is included in an indirect cost rate proposal developed
            in accordance with the applicable appendix to 2 CFR part 200 and, if required, has been approved by the
            cognizant agency for indirect costs.


             Agency/department/major              Indirect cost     Type of Direct Cost           Type of Rate
             function                             rate              Base

                                                               %

                                                               %

                                                               %

  4. Submission Type (check only one):                                         5. Effective date(s):
       Initial submission     Update

  6. Certification of Authorized Representative for the Applicant/Recipient:
     **Under penalty of perjury, I certify on behalf of the Applicant/Recipient that
     (1) all information provided on this form is true, complete, and accurate, and
     (2) the Applicant/Recipient will provide HUD with an update to this form immediately upon learning of
     any change in the information provided on this form, and
     (3) I am authorized to speak for the Applicant/Recipient regarding all information provided on this form.

     Signature: _____________________________________________
     Date: _____________________
     Name: ________________________________________
     Title: _____________________________




                                                                                                                                7
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**Warning: Anyone who knowingly submits a false claim or makes a false statement is subject to criminal and/or civil penalties, including
confinement for up to 5 years, fines, and civil and administrative penalties (18 U.S.C §§ 287, 1001, 1010, 1012, 1014; 31 U.S.C. § 3729, 3802; 24 CFR
§ 28.10(b)(iii)).

Public Reporting Burden Statement: This collection of information is estimated to average 0.25 hours per response, including the time for reviewing
instructions, searching existing data sources, gathering, and maintaining the data needed, and completing and reviewing the collection of the requested
information. Comments regarding the accuracy of this burden estimate and any suggestions for reducing this burden can be sent to: U.S. Department of
Housing and Urban Development, Office of the Chief Data Officer, R, 451 7th St SW, Room 8210, Washington, DC 20410-5000. Do not send
completed forms to this address. This agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless
the collection displays a valid OMB control number. This agency is authorized to collect this information under Section 102 of the Department of
Housing and Urban Development Reform Act of 1989. The information you provide will enable HUD to carry out its responsibilities under this Act
and ensure greater accountability and integrity in the provision of certain types of assistance administered by HUD. This information is required to
obtain the benefit sought in the grant program. Failure to provide any required information may delay the processing of your application and may result
in sanctions and penalties including of the administrative and civil money penalties specified under 24 CFR §4.38. This information will not be held
confidential and may be made available to the public in accordance with the Freedom of Information Act (5 U.S.C. §552). The information contained
on the form is not retrieved by a personal identifier, therefore it does not meet the threshold for a Privacy Act Statement.




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                                                                                           OMB Number. 2501-0044
                                                                                           Expiration Date: 2/28/2027

Instructions for Completing the Indirect Cost Information for the Award Applicant/Recipient

 Number     Item                 Instructions
 1          Federal Program/     Enter the title of the program as listed in the applicable funding
            Assistance Listing   announcement or notice of funding availability.
            Program Title
 2          Legal Name of        Enter the legal name of the entity that will serve as the recipient of the
            Applicant/           award from HUD.
            Recipient
 3          Indirect Cost Rate   Mark the one (and only one) checkbox that best reflects how the
            Information for      indirect costs of the Applicant/Recipient will be calculated and
            the Applicant/       charged under the award. Do not include indirect cost rate
            Recipient            information for subrecipients.

                                 The table following the third checkbox must be completed only if that
                                 checkbox is checked. When listing a rate in the table, enter the
                                 percentage amount (for example, “15%”), the type of direct cost base
                                 to be used (for example, “MTDC”), and the type of rate
                                 (“predetermined,” “final,” “fixed,” or “provisional”).

                                 If using the Simplified Allocation Method for indirect costs, enter the
                                 applicable indirect cost rate and type of direct cost base in the first row of
                                 the table.

                                 If using the Multiple Allocation Base Method, enter each major function
                                 of the organization for which a rate was developed and will be used
                                 under the award, the indirect cost rate applicable to that major
                                 function, and the type of direct cost base to which the rate will be
                                 applied.

                                 If the Applicant/Recipient is a government and more than one agency
                                 or department will carry out activities under the award, enter each
                                 agency or department that will carry out activities under the award,
                                 the indirect cost rate(s) for that agency or department, and the type of
                                 direct cost base to which each rate will be applied.
 4          Submission Type      Check the appropriate box to identify whether this is the first
                                 submission of this form for the award or an update to a previous
                                 submission of this form for the award.
 5          Effective date(s)    Enter the date(s) for which the information on this form applies.
 6          Certification of     An employee or officer of the Applicant/Recipient with the capacity
            Authorized           and authority to make this certification for the Applicant/Recipient
            Representative for   must make the certification by signing as provided. They must also
            the Applicant/       provide the date of their signature, full name, and position title.
            Recipient


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             EXHIBIT C
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                                                    444N 01,10e.

                   U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
                                            THE SECRETARY
                                         WASHINGTON, DC 20410-0001


April 4, 2025


Dear HUD Grantees and Stakeholders,

President Trump issued Executive Order 14218, "Ending Taxpayer Subsidization of Open Borders," on
February 19, 2025, to promote the rule of law and prevent American taxpayer dollars from being spent on
federal assistance for illegal aliens. As Secretary of the Department of Housing and Urban Development
(HUD), it is my responsibility to effectively implement the President's executive order at the agency.

HUD's contributions to housing and community development across the country serve some of America's
most vulnerable citizens on a path towards self-sufficiency. To that end, the President's Executive Order
emphasizes that the federal resources distributed by HUD shall be primarily focused on benefiting
American citizens and other qualified recipients, not illegal aliens.

President Trump's Executive Order reinforces the 1996 Personal Responsibility and Work Opportunity
Reconciliation Act (PRWORA, P.L. 104-193), which unequivocally prohibits illegal aliens from
receiving certain federal public benefits, including many forms of assistance provided under HUD
programs. Further, Section 214 of the Housing and Community Development Act of 1980 (P.L. 96-399)
prohibits HUD from making financial assistance available to persons other than United States citizens or
certain categories of eligible noncitizens in the Section 8 Housing Assistance programs, Public Housing
programs, Housing Development Grant programs, Section 202 direct loan program, Section 235 program,
Section 236 Program, and Rent Supplement Program. This letter serves as a reminder to all HUD grantees
of their legal obligations to comply with these laws and the President's Executive Order.

Recently, I directed HUD senior leadership to review our programs and institute mechanisms that can
ensure that HUD programs are compliant with President Trump's Executive Order. For example, going
forward, grant agreements will include language that will require compliance with Executive Order
14218, and the Department will take steps to ensure that Federal resources are not used to support
"sanctuary" policies of State and local jurisdictions that actively prevent federal authorities from
deporting illegal aliens.

I am excited to work with our grantees and other stakeholders to implement this Executive Order and
enforce the law so that HUD programs are used for the benefit of the American people. Thank you for
your cooperation, and I encourage you to contact our team at HUD with any ideas that may be able to
help improve our implementation of President Trump's Executive Order.




  of Turn
Secretary



                                    www.hud.gov               espanol.hud.gov
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             EXHIBIT D
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               KING COUNTY DEPARTMENT OF COMMUNITY AND HUMAN SERVICES CONTRACT


          Contractor                     DOWNTOWN EMERGENCY SERVICE CENTER
          Contract Title                 DESC - Consolidated PSH Portfolio #2
          Contract Amount                $2,780,449
          Contract Effective Date        Date of last signature
          Service Period From            11/01/2024                           To     10/31/2025
          UEI No. (if applicable)        PD2ZQH21GQK1                         Tax ID XX-XXXXXXX


         THIS CONTRACT No. 6498816 is entered into by KING COUNTY (the “County”), and Downtown
         Emergency Service Center (the “Contractor”) whose address is 1811 eastlake ave, Seattle, WA,
         98104

         WHEREAS, the County has been advised that the foregoing are the current funding sources, funding
         levels and effective dates, and

         WHEREAS, the County desires to have certain services performed by the Contractor as described in
         this Contract,

         NOW THEREFORE, in consideration of payments, covenants, and agreements hereinafter
         mentioned, to be made and performed by the parties hereto, the parties mutually agree as follows.




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                                             STANDARD TERMS AND CONDITIONS


         1.     Contract Services and Requirements, and Incorporated Statement of Works

                The Contractor shall provide services and meet the requirements included in these Standard
                Terms and Conditions and in the attached Statement of Work, Statement of Work(s), or
                attachments each of which is incorporated herein by this reference:

         2.     Contract Term

                The terms of this Contract shall become effective on the date of last signature and shall
                terminate on 10/31/2025, unless extended or terminated earlier, pursuant to the terms and
                conditions of the Contract. Contracted services, as described in the attached Statement of Work
                may be compensated as outlined below beginning on 11/01/2024, (the “Service Period Start
                Date”).

         3.     Compensation and Method of Payment

                A.     Compensation:

                       The County shall compensate the Contractor for satisfactory completion of the services
                       and requirements as specified in this Contract and its attached Statement of Work.

                B.     Invoicing:

                       The Contractor shall submit invoices and all accompanying reports as specified in the
                       attached Statement of Work, including its final invoice and all outstanding reports. The
                       County shall endeavor to make payment not more than 30 days after a complete and
                       accurate invoice is received.

                C.     Final Invoice:

                       The Contractor shall submit its final invoice and all outstanding reports as specified in this
                       Contract and its attached Statement of Work. If the Contractor’s final invoice and reports
                       are not submitted as required, the County will be relieved of all liability for payment to the
                       Contractor of the amounts set forth in the final invoice or any later invoice.

                D.     Reimbursement for Travel:

                       The Contractor shall not be reimbursed for travel unless otherwise specified within a
                       Statement of Work.

         4.     Internal Control and Accounting System

                The Contractor shall establish and maintain a system of accounting and internal controls that
                complies with the generally accepted accounting principles issued by the Financial Accounting
                Standards Board (FASB), the Governmental Accounting Standards Board (GASB), or both as is
                applicable to the Contractor’s form of doing business.




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         5.     Debarment and Suspension Certification

                Entities that are debarred, suspended, or proposed for debarment, by the U.S. Government are
                excluded from receiving federal funds and contracting with the County. The Contractor, by
                signature to this Contract, certifies that the Contractor is not currently debarred, suspended, or
                proposed for debarment, by any Federal department or agency. The Contractor shall not enter
                into a subcontract with a person or entity that is debarred, suspended, or proposed for
                debarment. The Contractor shall notify King County if it, or a Subcontractor, is debarred,
                suspended, or proposed for debarment, by any Federal department or agency. Debarment
                status may be verified at https://www.sam.gov/.

         6.     Maintenance of Records

                A.     Accounts and Records:

                       The Contractor shall maintain the following for a period of six years after termination of
                       this Contract: accounts and records, including personnel, property, financial,
                       programmatic records, and other such records the County may deem necessary to
                       ensure proper accounting and compliance with this Contract.

                B.     Nondiscrimination and Equal Employment Records:

                       In accordance with the nondiscrimination and equal employment opportunity
                       requirements set forth in Section 17. below, the Contractor shall maintain the following for
                       a period of six years after termination of this Contract:

                       i.     Records of employment, employment advertisements, application forms, other data,
                              records, and information related to employment, applications for employment or the
                              administration or delivery of services or any other benefits under this Contract; and

                       ii.    Records, including written quotes, bids, estimates or proposals, submitted to the
                              Contractor by all entities seeking to participate in this Contract, and any other
                              information necessary to document the actual use of and payments to
                              Subcontractors and suppliers in this Contract, including employment records.

                              The County may visit the site of the work and the Contractor’s office to review these
                              records. The Contractor shall provide all help requested by the County during such
                              visits and make the foregoing records available to the County for inspection and
                              copying. At all reasonable times, the Contractor shall provide to the County, the
                              state, and/or federal agencies or officials access to its facilities—including those of
                              any Subcontractor assigned any portion of this Contract in order to monitor and
                              evaluate the services provided under this Contract. The County will give reasonable
                              advance notice to the Contractor in the case of audits to be conducted by the
                              County. The Contractor shall comply with all record keeping requirements of any
                              applicable federal rules, regulations, or statutes included or referenced in the
                              Contract documents. If different from the Contractor’s address listed above, the
                              Contractor shall inform the County in writing of the location of its books, records,
                              documents, and other evidence for which review is sought, and shall notify the
                              County in writing of any changes in location within 10 working days of any such
                              relocation.




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         7.     Evaluations and Inspections

                A.     Subject to Inspection, Review, or Audit:

                       The records and documents with respect to all matters covered by this Contract shall be
                       subject at all times to inspection, review, or audit by the County and/or federal/state
                       officials authorized by law during the performance of this Contract and for six years after
                       termination hereof, unless a longer retention period is required by law.

                B.     Medical Records:

                       If applicable, medical records shall be maintained and preserved by the Contractor in
                       accordance with state and federal medical records statutes, including but not limited to
                       Revised Code of Washington (RCW) 70.41.190, 70.02.160, and standard medical records
                       practice. The Contractor shall also be responsible for the maintenance and disposal of
                       such medical records.

                C.     Contract Monitoring:

                       The Contractor and the County shall engage in monitoring visits to assess the
                       Contractor’s compliance with Contract requirements, quality, and practices. The County
                       will execute monitoring visits in accordance with the applicable frequency, as prescribed
                       by the controlling Statement of Work under this Contract. The Contractor shall cooperate
                       with the County and its agents to assess the Contractor’s performance under this
                       Contract. At the request of the County, the Contractor shall implement a plan to remedy
                       any items of noncompliance identified during the monitoring process.

                       The results and records of these processes shall be maintained and disclosed in
                       accordance with RCW Chapter 42.56.

                D.     Performance, Measurement and Evaluation

                       The Contractor shall submit performance metrics and program data as set forth in
                       Statement of Work to this Contract. The Contractor shall participate in evaluation activities
                       as required by the County and shall make available all information required by any such
                       performance measurement and evaluation processes.

                E.     Unauthorized Disclosure:

                       The Contractor shall protect from unauthorized disclosure all information, records, and
                       data collected in connection with this Contract in accordance with applicable state and
                       federal law.

         8.     Compliance with the Health Insurance Portability and Accountability Act of 1996 (HIPAA)

                The Contractor shall not use protected health information created or shared under this Contract
                in any manner that would constitute a violation of HIPAA and any regulations enacted pursuant
                to its provisions. Contractor shall read and maintain compliance with all HIPAA requirements,
                which can be found at https://www.kingcounty.gov/depts/community-human-
                services/contracts/requirements.aspx.




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         9.     Financial Report Submission

                The Contractor is required to submit a financial reporting package as described in Subsections
                A through C below. All required documentation shall be submitted via DCHS’ Contract Lifecycle
                Management system or email to KCCompliance@kingcounty.gov by the stated due date.

                A.      If the Contractor is a Non-Federal entity as defined in 2 Code of Federal Regulations
                        (CFR) Part 200.69 and expends $750,000 or more in Federal awards during its fiscal
                        year, then the Contractor shall meet the audit requirements in 2 CFR Part 200 Subpart F.
                        Audit packages are due to the County within nine months after the close of the
                        Contractor’s fiscal year.

                B.      If the Contractor is a local government in the State of Washington and is not subject to the
                        requirements in Subsection A, the Contractor shall submit audited financial statements
                        that are in accordance with the Washington State Auditor’s Office requirements. Financial
                        statement audits are due to the County within 150 days after the close of the Contractor’s
                        fiscal year end as required by RCW 43.09.230.

                C.      If the Contractor is not subject to the requirements in Subsection A or B, the following
                        apply:

                     Entity Type                 Non-Profit                           For Profit
                     Gross         Gross Revenue Gross Revenue Gross Revenue Gross Revenue
                     Revenue       Under $3M on       Over $3M on       Under $3M on       Over $3M on
                                   average in the     average in the    average in the     average in the
                                   previous three     previous three    previous three     previous three
                                   fiscal years.      fiscal years.     fiscal years.      fiscal years.
                     Required      • Form 990         Audited financial • Income tax       Audited financial
                     Documentation    within 30       statements           return; and     statements
                                      days of its     prepared by an    • A full set of    prepared by an
                                      being           independent          annual          independent
                                      filed; and      Certified Public     internal        Certified Public
                                   • A full set of    Accountant    or     financial       Accountant or
                                      annual          Accounting Firm      statements      Accounting Firm
                                      internal
                                      financial
                                      statements
                     Due Date      Within 30          Within nine       Within 30          Within nine
                                   calendar days      months            calendar days      months
                                   from the forms     following the     from the forms     following the
                                   being filed.       close of the      being filed.       close of the
                                                      Contractor’s                         Contractor’s
                                                      fiscal year.                         fiscal year.

                D.      Waiver:

                         A Contractor that is not subject to the requirements in Subsection A may, in extraordinary
                         circumstances, request, and in the County’s sole discretion, be granted, a one-year
                         waiver of the audit requirements. Such requests are made to the County at:
                         KCCompliance@kingcounty.gov for review. If approved by the County, the Contractor
                         may substitute for the above requirements other forms of financial reporting or fiscal


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                        representation certified by the Contractor’s Board of Directors, provided the Contractor
                        meets the following criteria:

                       i.     Financial reporting and any associated management letter show no reportable
                              conditions or internal control issues; and

                       ii.    There has been no turnover in key staff since the beginning of the period for which
                              the financial reporting was completed.

         10.    Corrective Action

                If the County determines that the Contractor has failed to comply with any terms or conditions of
                this Contract, or the Contractor has failed to provide in any manner the work or services (each a
                “breach”), and if the County determines that the breach warrants corrective action, the following
                procedure will apply:

                A.     Written Notification:

                       The County will notify the Contractor in writing of the nature of the breach.

                B.     Contractor’s Corrective Action Plan:

                       The Contractor shall respond with a written corrective action plan within ten working days
                       of its receipt of such notification unless the County, at its sole discretion, extends in
                       writing the response time. The plan shall indicate the steps being taken to correct the
                       specified breach and shall specify the proposed completion date for curing the breach.
                       This date shall not be more 30 days from the date of the Contractor’s response, unless
                       the County, at its sole discretion, specifies in writing an extension to complete the
                       corrective actions.

                C.     County’s Determination of Corrective Action Plan Sufficiency:

                       The County will determine the sufficiency of the Contractor’s proposed corrective action
                       plan, then notify the Contractor in writing of that determination. The determination of
                       sufficiency of the Contractor’s corrective action plan shall be at the sole discretion of the
                       County.

                D.     Termination or Suspension:

                       If the Contractor does not respond within the appropriate time with a corrective action
                       plan, or the Contractor’s corrective action plan is determined by the County to be
                       insufficient, the County may terminate or suspend this Contract in whole or in part
                       pursuant to Section 12.

                E.     Withholding Payment:

                       In addition, the County may withhold any payment to the Contractor or prohibit the
                       Contractor from incurring additional obligations of funds until the County is satisfied that
                       corrective action has been taken or completed.




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                F.     Non-Waiver of Rights:

                       Nothing herein shall be deemed to affect or waive any rights the parties may have
                       pursuant to Section 12, Subsections B, C, or D.

         11.    Dispute Resolution

                The parties shall use their best, good-faith efforts to cooperatively resolve disputes and problems
                that arise in connection with this Contract. Both parties will make a good faith effort to continue
                without delay to carry out their respective responsibilities under this Contract while attempting to
                resolve the dispute under this Section.


         12.    Termination

                A.     Termination for Convenience:

                       This Contract may be terminated by the County without cause, in whole or in part, at any
                       time during the term specified in Section 2. above, by providing the Contractor 30
                       calendar days advance written notice of the termination. The Contract may be suspended
                       by the County without cause, in whole or in part, at any time during the term specified in
                       Section 2. above, by providing the Contractor 30 calendar days advance written notice of
                       the suspension.

                       This Contract may be terminated by the Contractor without cause, in whole or in part, at
                       any time during the term specified in Subsection 2. above, by providing the other party 90
                       calendar days advance written notice of the termination.

                B.     Termination for Default:

                       The County may terminate or suspend this Contract, in whole or in part, upon seven
                       business days advance written notice if: (1) the Contractor breaches any duty, obligation,
                       or service required pursuant to this Contract and either (a) the corrective action process
                       described in Section 10. fails to cure the breach or (b) the County determines that
                       requiring a corrective action plan is impractical or that the duties, obligations, or services
                       required herein become impossible, illegal, or not feasible. If the Contract is terminated by
                       the County pursuant to this Subsection 12.B., the Contractor shall be liable for damages,
                       including any additional costs of procuring similar services from another source.

                       If the termination results from acts or omissions of the Contractor, including but not limited
                       to misappropriation, nonperformance of required services, or fiscal mismanagement, the
                       Contractor shall return to the County immediately any funds, misappropriated or
                       unexpended, that have been paid to the Contractor by the County.

                C.     Termination for Non-Appropriation:

                       If expected or actual funding is withdrawn, reduced, or limited in any way prior to the
                       termination date set forth above in Section 2., the County may, upon seven business days
                       advance written notice to the Contractor, terminate or suspend this Contract in whole or in
                       part.

                       If the Contract is terminated or suspended as provided in this Subsection 12.C.: (1) the
                       County will be liable only for payment in accordance with the terms of this Contract for

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                       services rendered prior to the effective date of termination or suspension; and (2) the
                       Contractor shall be released from any obligation to provide such further services pursuant
                       to the Contract as are affected by the termination or suspension.

                       Funding or obligation under this Contract beyond the current appropriation year is
                       conditional upon appropriation by the County Council and/or other identified funding
                       source(s) of sufficient funds to support the activities described in the Contract. If such
                       appropriation is not approved, this Contract will terminate at the close of the current
                       appropriation year. The current funding sources associated with this Contract are
                       specified on page one.

                       If the Contract is suspended as provided in this Section, the County may provide written
                       authorization to resume activities.

                D.     Non-Waiver of Rights:

                       Nothing herein shall limit, waive, or extinguish any right or remedy provided by this
                       Contract or by law or equity that either party may have if any of the obligations, terms, and
                       conditions set forth in this Contract are breached by the other party.

         13.    Hold Harmless and Indemnification

                A.     Duties as Independent Contractor:

                       In providing services under this Contract, the Contractor is an independent contractor,
                       and neither it nor its officers, agents, or employees are employees of the County for any
                       purpose. The Contractor shall be responsible for all federal and/or state tax, industrial
                       insurance, and Social Security liability that may result from the performance of and
                       compensation for these services and shall make no claim of career service or civil service
                       rights which may accrue to a County employee under state or local law.

                       The County assumes no responsibility for the payment of any compensation, wages,
                       benefits, or taxes, by, or on behalf of the Contractor, its employees, and/or others by
                       reason of this Contract.

                       The Contractor shall protect, indemnify, defend, and save harmless the County, its
                       officers, agents, and employees from and against any and all claims, costs, and/or losses
                       whatsoever occurring or resulting from (1) the Contractor’s failure to pay any such
                       compensation, wages, benefits, or taxes, and/or (2) the supplying to the Contractor of
                       work, services, materials, or supplies by Contractor employees or other suppliers in
                       connection with or support of the performance of this Contract.

                B.     Contractor’s Duty to Repay County:

                       The Contractor is financially responsible for and shall repay the County all indicated
                       amounts following an audit exception which occurs due to the negligence, intentional act,
                       and/or failure, for any reason, to comply with the terms of this Contract, by the Contractor,
                       its officers, employees, agents, and/or representatives. This duty to repay the County
                       shall not be diminished or extinguished by the termination of the Contract.




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                C.     Contractor Indemnifies County:

                       To the maximum extent permitted by law, the Contractor shall protect, defend, indemnify,
                       and save harmless the County, its officers, employees, and agents from any and all costs,
                       claims, judgments, and/or awards of damages, arising out of, or in any way resulting from,
                       the negligent acts or omissions of the Contractor, its officers, employees, Subcontractors
                       and/or agents, in its performance or non-performance of its obligations under this
                       Contract. The Contractor’s obligations under this Subsection 13.C. shall extend to any
                       claim, demand, and/or cause of action brought by, or on behalf of, any of its employees or
                       agents. For this purpose, the Contractor, by mutual negotiation, hereby waives, as
                       respects the County only, any immunity that would otherwise be available against such
                       claims under any industrial insurance act, including Title 51 RCW, other Workers’
                       Compensation act, disability benefit act, or other employee benefit act of any jurisdiction
                       which would otherwise be applicable in the case of such claim. In addition, the Contractor
                       shall protect and assume the defense of the County and its officers, agents, and
                       employees in all legal or claim proceedings arising out of, in connection with, or incidental
                       to its indemnity obligation; and shall pay all defense expenses, including reasonable
                       attorney's fees, expert fees, and costs incurred by the County on account of such litigation
                       or claims. If the County incurs any judgment, award, and/or cost arising therefrom
                       including reasonable attorneys’ fees to enforce the provisions of this article, all such fees,
                       expenses, and costs shall be recoverable from the Contractor.

                D.     County Indemnifies Contractor:

                       To the maximum extent permitted by law, the County shall protect, defend, indemnify, and
                       save harmless the Contractor, its officers, employees, and agents from any and all costs,
                       claims, judgments, and/or awards of damages, arising out of, or in any way resulting from,
                       the negligent acts or omissions of the County, its officers, employees, and/or agents, in its
                       performance and/or non-performance of its obligations under this Contract. The County’s
                       obligations under this Subsection 13.D. extend to any claim, demand, and/or cause of
                       action brought by, or on behalf of, any of its employees or agents. For this purpose, the
                       County, by mutual negotiation, hereby waives, as respects the Contractor only, any
                       immunity that would otherwise be available against such claims under the Industrial
                       Insurance provisions of Title 51 RCW. In the event the Contractor incurs any judgment,
                       award, and/or cost arising therefrom including reasonable attorneys’ fees to enforce the
                       provisions of this article, all such fees, expenses, and costs shall be recoverable from the
                       County.

                E.     Intellectual Property Infringement:

                       For purposes of this Subsection 13.E., claims shall include, but not be limited to,
                       assertions that use or transfer of software, book, document, report, film, tape, or sound
                       reproduction or material of any kind, delivered hereunder, constitutes an infringement of
                       any copyright, patent, trademark, trade name, and/or otherwise results in unfair trade
                       practice.

                       The indemnification, protection, defense, and save harmless obligations contained herein
                       shall survive the expiration, abandonment, or termination of this Contract.




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         14.    Insurance Requirements

                Contractor shall provide evidence of the insurance required under this Contract, including a
                Certificate of Insurance and endorsements covering King County as additional insured for full
                coverage and policy limits within 30 calendar days of Contract execution. Evidence of insurance
                and endorsements shall be submitted via DCHS’ Contract Lifecycle Management system or
                email to DCHSContracts@kingcounty.gov. The Contractor may request additional time to
                provide the required documents by emailing DCHSContracts@kingcounty.gov. Extensions will
                be granted at the sole discretion of the County. All evidence of insurance shall be signed by a
                properly authorized officer, agent, general agent, or qualified representative of the insurer(s),
                shall certify the name of the insured(s), the type and amount of insurance, the inception and
                expiration dates, contract number, and shall state that the County shall receive notice at least
                thirty (30) days prior to the effective date of any cancellation, lapse, or material change in the
                policy. Similar documentation confirming renewal of required insurance shall be provided on
                each insurance renewal date.

                In the event of a loss, the County reserves the right to require complete, certified copies of all
                required insurance policies, including endorsements and riders, which may be redacted of any
                confidential or proprietary information. Contractor shall deliver such policies to the County within
                five (5) business days of County’s request.

                County’s receipt or acceptance of Contractor’s evidence of insurance at any time without
                comment or objection, or County’s failure to request certified copies of such insurance, does not
                waive, alter, modify, or invalidate any of the insurance requirements set forth in this Section or,
                consequently, constitute County’s acceptance of the adequacy of Contractor’s insurance.

                Unless otherwise provided in a Statement of Work to this Contract, the Contractor shall
                purchase and maintain, at its sole cost and expense, the minimum insurance set forth below. By
                requiring such minimum insurance, County does not and shall not be deemed or construed to
                have assessed the risks that may be applicable to Contractor, or any Subcontractor, under this
                Contract, or in any way limit County’s potential recovery to insurance limits required hereunder.
                To the contrary, this Contract’s insurance requirements may not in any way be construed as
                limiting any potential liability to County or County’s potential recovery for Contractor. Contractor
                shall assess its own risks and if it deems appropriate and/or prudent, maintain greater limits
                and/or broader coverage.

                Nothing contained within these insurance requirements shall be deemed to limit the scope,
                application, and/or limits of the coverage afforded, which coverage shall apply to each insured
                to the full extent provided by the terms and conditions of the policy(s).

                Each insurance policy shall be written on an “occurrence” basis/form; excepting insurance for
                Professional Liability (Errors and Omissions), and/or Cyber Liability (Technology Errors and
                Omissions) required by this Contract is acceptable on a “claims made” basis/form. If coverage is
                approved and purchased on a “claims made” basis/form, the coverage provided under that
                insurance shall be maintained through: (i) consecutive policy renewals for not less than three (3)
                years from the date of the work which is subject to this Contractor or, if such renewals are
                unavailable, (ii) the purchase of a tail/extended reporting period for not less than three (3) years
                from the date of completion of the work which is subject of this Contract. All insurance written on
                a “claims made” basis/form must have its policy inception or retroactive date be no later than the
                effective date of the Contract, unless otherwise approved in writing by the County’s Risk
                Management Office.



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                A.     Minimum Scope and Limits of Insurance

                       The Contractor shall maintain the following types of insurance and minimum insurance
                       limits:

                       i.     Commercial General Liability: $1,000,000 per occurrence and $2,000,000 in the
                              aggregate for bodily injury, personal and advertising injury and property damage.
                              Coverage shall be at least as broad as that afforded under ISO form number CG 00
                              01 current edition, or its substantive equivalent. Such insurance shall include
                              coverage for, but not limited to premises liability, products and completed
                              operations, ongoing operations, and contractual liability. Limits may be satisfied by
                              a single primary limit or by a combination of separate primary and umbrella or
                              excess liability policies, provided that coverage under the latter shall be at least as
                              broad as that afforded under the primary policy and satisfy all other requirements
                              applicable to liability insurance including but not limited to additional insured status
                              for the County with the use of an umbrella or excess liability policy, which is at least
                              as broad as the underlying policy. If the scope of services involves activities with
                              minors, such policy shall include sexual assault and misconduct coverage.

                       ii.    Professional Liability (Errors and Omissions): $1,000,000 per claim and in the
                              aggregate. In the event that services delivered pursuant to this Contract either
                              directly or indirectly involve or require professional services, Professional Liability
                              (Errors and Omissions) coverage shall be provided. “Professional Services,” for the
                              purpose of this Contract Section, shall mean any services provided by a licensed
                              professional or those services that require professional standards of care.

                       iii.   Automobile Liability: $1,000,000 combined single limit per accident for bodily injury
                              and property damage. In the event that services delivered pursuant to this Contract
                              involve the transportation of clients by Contractor personnel in Contractor-owned
                              vehicles or non-owned vehicles, the limit shall be no less than $3,000,000
                              combined single limit per accident for bodily injury and property damage. Insurance
                              Services Office form number (CA 00 01) covering BUSINESS AUTO COVERAGE,
                              symbol 1 “any auto”; or the appropriate coverage provided by symbols 2, 7, 8, or 9.
                              Limits may be satisfied by a single primary limit or by a combination of separate
                              primary and umbrella or excess liability policies, provided that coverage under the
                              latter shall be at least as broad as that afforded under the primary policy.

                       iv.    Workers Compensation: Statutory requirements of the State of residency.

                       v.     Employers Liability or “Stop Gap” coverage: $1,000,000 each occurrence and shall
                              be at least as broad as the protection provided by the Workers Compensation
                              policy Part 2 (Employers Liability), or, in monopolistic states, the protection provided
                              by the “Stop Gap” endorsement to the Commercial General Liability policy.

                       vi.    Cyber Liability (Technology Errors and Omissions): For contracts involving software
                              or technology where data breach or exposure to personal and/or confidential
                              information could impact the Contractor or County, Contractor shall provide Cyber
                              Liability (Technology Errors and Omissions) coverage with a limit no less than
                              $1,000,000 per claim or occurrence and in the aggregate. Coverage shall include
                              loss resulting from data security/privacy breach, or other unauthorized access or
                              related violations including identity fraud and privacy law violations, denial of
                              service attacks, introduction of virus and malicious code, extortion, dissemination or
                              destruction of electronic data, business interruption, privacy law violations,

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                                  disclosure of non-public, personal or confidential information, identity fraud, loss of
                                  income due to system crashes, breach of contract, and acts by rogue employees.
                                  Coverage shall include notification and other expenses incurred in remedying a
                                  privacy breach as well as costs to investigate and restore data.

                       vii.       Crime Insurance: Contractors handling County funds or assets, (i.e., Contractors
                                  providing rental assistance or distributing gift cards on behalf of the County), shall
                                  maintain Crime Insurance with limits to cover the maximum amount of risk at any
                                  one time; or a total of one year’s receipts or similar measure of exposure. Coverage
                                  for Fidelity, Theft, Disappearance, Destruction Liability, and Employee Dishonesty
                                  shall be included. Coverage shall include ‘Joint Loss Payable’ ISO form CR 20 15
                                  10/10 or equivalent; and ‘Provide Required Notice of Cancellation to Another Entity’
                                  ISO form CR 20 17 10/10.

                       viii.      Depending on the Contractor’s scope of work, other insurance types or limits may
                                  apply to this Contract. Specific coverage and limit requirements can be found by
                                  visiting Insurance Requirements - King County.

                       ix.        Municipal or State Agencies: If the Contractor is a Municipal Corporation, an
                                  agency of the State of Washington, or any other Public Agency and is self-insured
                                  for any of the above insurance requirements, a letter of self-insurance shall be
                                  attached and be incorporated by reference and shall constitute compliance with all
                                  or a portion of this Section.

                B.     Other Insurance Provisions and Requirements

                       All insurance policies purchased and maintained by the Contractor required in this
                       Contract shall contain, or be endorsed to contain the following provisions:

                       With respect to all liability policies except Professional Liability (Errors and Omissions),
                       and Workers’ Compensation:

                             i.   The County, its officials, employees, and agents shall be covered as additional
                                  insured for full coverage and policy limits as respects liability arising out of activities
                                  performed by or on behalf of the Contractor, its agents, representatives, employees,
                                  or Subcontractor(s) in connection with this Contract. Additional Insured status shall
                                  include products-completed operations CG 20 10 11/85 or its substantive
                                  equivalent. The County requires a copy of the additional insured endorsement(s).

                       With respect to all liability policies (except Workers’ Compensation):

                             i.    Coverage shall be primary insurance as respects the County, its officials,
                                   employees, and agents. Any insurance and/or self-insurance maintained by the
                                   County, its officials, employees, or agents shall not contribute with any
                                   Contractor’s or Subcontractor’s insurance or benefit the Contractor or any
                                   Subcontractor, or their respective insurers in any way.

                         ii.       Insurance shall expressly state that it applies separately to each insured and
                                   additional insured against whom a claim is made and/or lawsuit is brought, except
                                   with respect to the limits of insurer’s liability.




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                C.     Deductibles and Self-Insured Retentions: Any deductible and/or self-insured retention of
                       the policies shall not apply to the Contractor’s liability to the County and shall be the sole
                       responsibility of the Contractor or its Subcontractor.

                D.     Acceptability of Insurers: Insurance coverage is to be placed with insurers with an A.M.
                       Best rating of no less than A:VIII, or, if not rated with an A.M. Best, with minimum surplus
                       equivalent of an A.M. Bests' surplus size VIII.

                       Professional Liability (Errors and Omissions) insurance coverage may be placed with
                       insurers with an A.M. Bests' rating of B+:VII. Any exception must be approved by the
                       County.

                       If at any time any of the foregoing policies fail to meet minimum requirements, the
                       Contractor shall, upon notice to that effect from the County, promptly obtain a new policy,
                       and shall submit the same to the County, with the appropriate certificates and
                       endorsements, for approval.

                E.     Subcontractors: Contractor shall include all Subcontractors as insureds under its policies
                       or, alternatively, the Contractor must require each of its Subcontractors to procure and
                       maintain appropriate and reasonable insurance coverage and insurance limits to cover
                       each of the Subcontractor’s liabilities given the Subcontractor’s scope of work and the
                       services being provided herein. To the extent reasonably commercially available,
                       insurance maintained by any Subcontractor must comply with the specified requirements
                       of this Section (inclusive) above, including the requirement that all liability insurance
                       policies (except Professional Liability and Workers Compensation) provided by the
                       Subcontractor(s) must include County, its officials, agents and employees as additional
                       insured for full coverage and policy limits. Contractor is obligated to require and verify that
                       each Subcontractor maintains the required insurance and ensure County is included as
                       additional insured. Upon request by the County, and within five (5) business days,
                       Contractor must provide evidence of each Subcontractor(s) insurance coverage, including
                       endorsements.

                F.     Waiver: A Contractor may request a waiver or reduction of one or more of the insurance
                       requirements if the insurance requirement is not applicable to the Contractor’s scope of
                       work. Such requests shall be made to the County at: KCCompliance@kingcounty.gov for
                       review. All waiver request approvals or denials are in the County’s sole discretion to be
                       granted. If approved by the County, the Contractor shall still provide proof of and hold all
                       other required provisions as stated above.

         15.    Assignment

                Contractor shall not assign any interest, obligation, or benefit under or in this Contract or
                transfer any interest in the same, whether by assignment or novation, without prior written
                consent of the County. If assignment is approved, this Contract shall be binding upon and inure
                to the benefit of the successors of the assigning party upon the written agreement by assignee
                to assume and be responsible for the obligations and liabilities of the Contract, known and
                unknown, and applicable law.




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         16.    Subcontracting

                A.     Written Consent of the County:

                       The Contractor shall not subcontract any portion of this Contract or transfer or assign any
                       claim arising pursuant to this Contract without the written consent of the County. The
                       County retains the right to review any proposed subcontracts related to the performance
                       of the activities outlined in the attached Statement of Work. The County’s consent must
                       be sought in writing by the Contractor not less than 15 days prior to the date of any
                       proposed subcontract.

                       The rejection or approval by the County of any Subcontractor or the termination of a
                       Subcontractor will not relieve Contractor of any of its responsibilities under the Contract,
                       nor be the basis for additional charges to the County.

                       In no event will the existence of the subcontract operate to release or reduce the liability
                       of Contractor to the County for any breach in the performance of Contractor’s duties.

                       The County has no contractual obligations to any Subcontractor or vendor under contract
                       to the Contractor. Contractor is fully responsible for all contractual obligations, financial or
                       otherwise, to its Subcontractors.

                B.     “Subcontract” Defined:

                       “Subcontract” shall mean any agreement between the Contractor and a Subcontractor or
                       between Subcontractors that is based on this Contract, provided that the term
                       “subcontract” does not include the purchase of (1) support services not related to the
                       subject matter of this Contract, or (2) supplies.

                C.     Required Clauses for Subcontracts:

                       The Contractor shall include Section 4, 5, 6, 7, 8, 10, 15, 16, 17, 18, 19, 20, 21, 22, 28,
                       29, and 30 in every subcontract or purchase agreement for services that relate to the
                       subject matter of this Contract.

                D.     Required Language for Subcontracts:

                       The Contractor shall include the following language verbatim in every subcontract for
                       services which relate to the subject matter of this Contract:

                       “Subcontractor shall protect, defend, indemnify, and hold harmless King County, its
                       elected and appointed officials, officers, employees, and agents from any and all costs,
                       claims, judgments, and/or awards of damages arising out of, or in any way resulting from
                       the negligent act or omissions of Subcontractor, its officers, employees, and/or agents in
                       connection with or in support of this Contract. Subcontractor expressly agrees and
                       understands that King County is a third-party beneficiary to its Contract with Contractor
                       and shall have the right to bring an action against Subcontractor to enforce the provisions
                       of this paragraph.”




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         17.    Nondiscrimination and Payment of a Living Wage

                A.     The Contractor shall comply with all applicable federal, state, and local laws regarding
                       discrimination, including those set forth in this Section.

                B.     Nondiscrimination:

                       During performance of the Contract, the Contractor shall not discriminate against any
                       employee or applicant for employment because of the employee’s or applicant's sex,
                       race, color, marital status, national origin, religious affiliation, disability, sexual orientation,
                       gender identity or expression, or age except by minimum age and retirement provisions,
                       unless based upon a bona fide occupational qualification. The Contractor will make equal
                       employment opportunity efforts to ensure that applicants and employees are treated
                       equitably, without regard to their sex, race, color, marital status, national origin, religious
                       affiliation, disability, sexual orientation, gender identity or expression, age except by
                       minimum age and retirement provisions, status as a family caregiver, military status or
                       status as a veteran who was honorably discharged or who was discharged solely as a
                       result of the person’s sexual orientation or gender identity or expression. Contractor shall
                       additionally read and comply with all additional requirements set forth at:
                       https://www.kingcounty.gov/depts/community-human-
                       services/contracts/requirements.aspx.

                C.     Payment of a Living Wage:

                       In accordance with King County Living Wage Ordinance 17909, for contracts for services
                       with an initial or amended value of $100,000 or more, the Contractor shall pay, and
                       require all Subcontractors to pay, a living wage to employees for each hour the employee
                       performs a Measurable Amount of Work on this Contract. The requirements of the
                       ordinance, including payment schedules, are detailed at
                       https://www.kingcounty.gov/depts/finance-business-operations/procurement/about-
                       us/Living-Wage.aspx.

                       Violations of this requirement may result in disqualification of the Contractor from bidding
                       on or being awarded a County contract for up to two years; contractual remedies
                       including, but not limited to, liquidated damages and/or termination of the Contract;
                       remedial action as set forth in public rule; and other civil remedies and sanctions allowed
                       by law.

         18.    Code of Conduct

                DCHS is committed to providing an inclusive, welcoming, supportive, and safe environment for
                all to feel respected, valued, and empowered. The Contractor shall, while performing the work
                as described in the attached Statement of Work, interact with the community being served and
                the County’s employees in a respectful manner.

                The County and Contractor shall refrain from engaging in any conduct that communicates a
                hostile, demeaning, or unwelcome message. Such prohibited conduct can be either verbal or
                nonverbal and includes, but is not limited to microaggressions, deliberate misgendering, slights,
                and other conduct that could cause harm. The Contract may be subject to termination under
                Subsection 12.B. as a result of any violation of this Section by providing the other party 30
                calendar days advance written notice of the termination.



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         19.    Conflict of Interest

                Entering into this Contract with the County requires that the Contractor agree to abide by
                certain provisions of the King County Employee Code of Ethics, including those relating to
                conflicts of interest and the employment of current or former County employees.

                A.     Compliance with King County Code of Ethics:

                       The Contractor shall comply with applicable provisions of King County Code (KCC) 3.04.
                       Failure to comply with such requirements shall be a material breach of this Contract and
                       may result in termination of this Contract and subject the Contractor to the remedies
                       stated in this Contract, or otherwise available to the County at law or in equity.

                B.     Penalties:

                       The Contractor acknowledges and agrees, pursuant to KCC 3.04.060, that it will not
                       willfully attempt to secure preferential treatment in its dealings with the County by offering
                       any valuable consideration, thing of value or gift, whether in the form of services, loan,
                       thing, or promise, in any form to any County official or employee. The Contractor
                       acknowledges that if it is found to have violated the prohibition found in this paragraph, its
                       current contracts with the County will be cancelled and it shall not be able to bid on any
                       County contract for a period of two years.

                C.     Former King County Employees:

                       The Contractor acknowledges that, for one year after leaving County employment, a
                       former County employee may not have a financial or beneficial interest in a contract or
                       grant that was planned, authorized, or funded by a County action in which the former
                       County employee participated during County employment. Contractor shall identify, at the
                       time of offer, current or former County employees involved in the preparation of proposals
                       or the anticipated performance of Work if awarded the Contract. Failure to identify current
                       or former County employees involved in this transaction may result in the County’s
                       denying or terminating this Contract. After Contract award, the Contractor is responsible
                       for notifying the County’s Project Manager of current or former County employees who
                       may become involved in the Contract at any time during the term of the Contract.

         20.    Equipment Purchase, Maintenance, and Ownership

                A.     Equipment Maintenance:

                       The Contractor agrees that when Contract funds are used to pay for all or part of the
                       purchase costs of any equipment that costs $5,000 or more per item, and the purchase of
                       such equipment is identified in a Statement of Work to this Contract, such equipment is,
                       upon the purchase or receipt, the property of the County and/or federal/state government.
                       The Contractor shall be responsible for all proper care and maintenance of the
                       equipment, including securing and insuring such equipment.

                B.     Equipment Ownership:

                       The Contractor shall ensure that all such equipment is returned to the County or
                       federal/state government upon termination of this Contract unless otherwise agreed upon
                       by the parties.


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                C.     Continue Ownership Rights

                       The Contractor and County shall mutually agree to sign all documents and perform other
                       acts necessary to secure, maintain, renew, or restore the rights granted to the County as
                       set forth in this section.

         21.    Proprietary Rights

                A.     Ownership Rights of Materials Resulting from Contract:

                       Except as indicated below or as described in a Statement of Work, the parties to this
                       Contract hereby agree that if any patentable or copyrightable material or article should
                       result from the work described herein, all rights accruing from such material or article shall
                       be the sole property of the County. To the extent that any rights in such materials vest
                       initially with the Contractor by operation of law or for any other reason, the Contractor
                       hereby perpetually and irrevocably assigns, transfers, and quitclaims such rights to the
                       County. The County agrees to and does hereby grant to the Contractor a perpetual,
                       irrevocable, nonexclusive, and royalty-free license to use and create derivative works,
                       according to law, any material or article and use any method that may be developed as
                       part of the work under this Contract.

                B.     Ownership Rights of Previously Existing Materials:

                       The Contractor shall retain all ownership rights in any pre-existing patentable or
                       copyrightable materials or articles that are delivered under this Contract, but do not
                       originate from the work described herein. The Contractor agrees to and does hereby grant
                       to the County a perpetual, irrevocable, nonexclusive, and royalty-free license to use and
                       create derivative works, according to law, any pre-existing material or article and use any
                       method that may be delivered as part of the work under this Contract.

                C.     Continued Ownership Rights:

                       The Contractor shall sign all documents and perform other acts as the County deems
                       necessary to secure, maintain, renew, or restore the rights granted to the County as set
                       forth in this Section.

         22.    Political Activity Prohibited

                None of the funds, materials, property, or services provided directly or indirectly under this
                Contract shall be used for any partisan political activity or to further the election or defeat of any
                candidate for public office.

         23.    King County Recycled Product Procurement Policy

                If paper copies are required, in accordance with KCC 18.20, the Contractor shall use recycled
                paper, and both sides of sheets of paper whenever practicable, when submitting proposals,
                reports, and invoices.

         24.    Future Support

                The County makes no commitment to support contracted services and assumes no obligation
                for future support of the contracted activity(-ies), except as expressly set forth in this Contract.


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         25.    Entire Contract

                The parties agree that this Contract is the complete expression of the described subject matter,
                and any oral or written representations or understandings not incorporated herein are excluded.
                Both parties recognize that time is of the essence in the performance of this Contract.

         26.    Contract Amendments

                Either party may request changes to this Contract. Proposed changes that are mutually agreed
                upon shall be incorporated only by written amendments to this Contract.

         27.    Notices

                Whenever this Contract provides for notice by one party to another, such notice shall be in
                writing and directed to each party’s contact representative as identified in the contract record in
                DCHS’ Contract Lifecycle Management system. Any time within which a party must take some
                action shall be computed from the date that any associated required notice is received by that
                party.

         28.    Services Provided in Accordance with Law and Rule and Regulation

                The Contractor and any Subcontractor agree to abide by the laws of the State of Washington,
                rules and regulations promulgated thereunder, and regulations of the state and federal
                governments, as applicable, including performing background checks required by law, which
                control disposition of funds granted under this Contract, all of which are incorporated herein by
                reference.

                If there is an irreconcilable conflict between any of the language contained in any Statement of
                Work or attachment to this Contract, the language in the Contract shall control over the
                language contained in the Statement of Work or the attachment, unless the Statement of Work
                provision expressly indicates that it controls over inconsistent contract language. If there is
                conflict among requirements set forth in Statement of Work, language contained in the lower
                numbered Statement of Work shall control unless the higher numbered Statement of Work
                provision expressly indicates that it controls over inconsistent lower numbered Statement of
                Work language.

         29.    Applicable Law

                This Contract shall be construed and interpreted in accordance with the laws of the State of
                Washington. The venue for any action hereunder shall be in the Superior Court for King County,
                Washington.

         30.    No Third-Party Beneficiaries

                Except for the parties to whom this Contract is assigned in compliance with the terms of this
                Contract, there are no third-party beneficiaries to this Contract, and this Contract shall not
                impart any rights enforceable by any person or entity that is not a party hereto.

         31.    Non-Waiver of Breach

                Waiver of any default shall not be deemed to be a waiver of any subsequent default. No action
                or failure to act by the County shall constitute a waiver of any right or duty afforded to the
                County under the Contract; nor shall any such action or failure to act by the County modify the

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                terms of the Contract or constitute an approval of, or acquiescence in, any breach hereunder,
                except as may be specifically stated by the County in writing.

         32.    Force Majeure

                “Force Majeure” means an event or events beyond the parties’ reasonable control, incurred not
                as a product or result of the negligence of the afflicted party, and which have a materially
                adverse effect on the ability of such party to perform its obligations as detailed in this Contract.
                Force Majeure events may include but are not limited to: Acts of God or Nature; war; civil,
                military, public, or industrial disturbances; acts or threats of terrorism; epidemics, fire, flood, or
                other casualty; labor difficulties, shortages of labor or materials or equipment; government
                regulations; delay by government or regulatory agencies; shutdowns for purpose of emergency
                repairs, and/or unusually severe weather.

                A.     No Breach if Force Majeure Applies:

                       Neither party shall be considered in breach of this Contract to the extent that performance
                       of their respective obligations is prevented by a Force Majeure event upon giving notice
                       and reasonably full particulars to the other party.

                B.     Duty to Minimize Disruption and Give Notice:

                       Parties maintain an express duty to minimize the disruption caused by Force Majeure,
                       and shall, as soon as reasonably practicable, give notice to the other party of the nature
                       and impact of the Force Majeure. Irrespective of any extension of time, if the effect of an
                       event or series of events continues for a period of 180 days, either the County or the
                       Contractor may give to the other a notice of suspension or termination.

                C.     Extension of Time:

                       Should Force Majeure events delay the Contractor’s completion of the deliverables and
                       performance commitments, the Contractor may be entitled to an extension for the time for
                       completion. Any extension must be approved in writing by the County.

                D.     Suspending Performance:

                       Should a Force Majeure event prevent the Contractor from completing deliverables or
                       performing commitments in this Contract, the completion or performance shall be
                       suspended only for the time and to the extent commercially practicable to restore normal
                       operations. Further, the Contractor and the County shall endeavor to continue to perform
                       their contractual obligations to the extent reasonably practicable and will work to adjust
                       deliverables or performance commitments as needed to continue the provision of services
                       during the Force Majeure event. Contractor may be reimbursed for any costs incurred
                       mitigating adverse impacts of the Force Majeure and may be compensated for any partial
                       work that has been completed.

         33.    Emergency Response Requirements

                Within three months of the execution of this Contract, the Contractor shall prepare and make
                available to the County upon request, the necessary plans, procedures, and protocols to:




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                A. Respond to and recover from a natural disaster or major disruption to Contractor operations
                   such as a work stoppage.

                B. Continue operations during a prolonged event such as a pandemic.

                     If the Contractor does not have any such plan as of the start of this Contract, the Contractor
                     may request (1) an extension of the time needed to create a plan, and (2) for assistance
                     from the County in preparing such a plan.

                     At a minimum, any plans, procedures, or protocols described in this Section must include
                     how the Contractor plans to continue to provide the services described in or funded by this
                     Contract.

         34.    Equity, Racial and Social Justice Requirements

                 A. Accessibility

                      The Contractor shall evaluate and modify the way in which it provides services so that
                      services are accessible to people with disabilities. Evaluations and modifications shall be
                      consistent with the requirements of the Washington State Law Against Discrimination
                      (RCW 49.60), the Americans with Disabilities Act (ADA), and other applicable statutes.

                 B. Culturally and linguistically relevant services

                      The Contractor shall evaluate and modify the way it provides services so that services are
                      culturally and linguistically relevant to Participants. Where possible, the Contractor shall
                      offer a linguistic match of staff who speak the Participant’s home language. When a
                      linguistic match is not available or declined by the Participant, the Contractor shall provide
                      interpretation services at no cost to the Participant.

                 C. Self-Assessment

                      The Contractor shall conduct self-assessments, including obtaining input from culturally
                      diverse populations of both Participants and non-Participants, to determine how effectively
                      the Contractor is delivering services funded under this Contract in a culturally and
                      linguistically appropriate manner.

                 D. Ongoing Education

                      The Contractor shall create or otherwise make available opportunities to ensure its staff
                      participates in continuing education regarding equity and social justice each year. Staff
                      participation in equity, racial and social justice education shall be documented in writing.

                 E. Subcontractors and Third Parties

                      The Contractor shall exercise all due care and diligence and take all reasonable steps to
                      ensure the values, conduct, and associations of any subcontractors or third parties
                      delivering services to participants do not conflict with the work described in this Contract,
                      or King County’s prioritization of racial equity and social justice.




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         35.    Contractor Certification

                By signing this Contract, the Contractor certifies that, in addition to agreeing to the terms and
                conditions provided herein, it has read and understands the contracting requirements on the
                DCHS website at https://www.kingcounty.gov/depts/community-human-
                services/contracts/requirements.aspx and shall comply with all of the contract terms and
                conditions detailed on that site, including, but not limited to, Equity and Social Justice,
                applicable Emergency Response, Equal Opportunity Employment (EEO)/Nondiscrimination,
                HIPAA, Insurance, and Credentialing requirements.


               IN WITNESS WHEREOF, the parties executing this Contract: 1) have authority to sign and bind
               its represented party to this Contract; and 2) hereby agree to the terms and conditions of this
               Contract:

                 KING COUNTY                                                 DOWNTOWN EMERGENCY SERVICE
                                                                             CENTER


                 $docusign:SignHere::InternalSigner1                          $docusign:SignHere::Customer1

                 FOR King County Executive                                   Signature
                 $docusign:FullName::InternalSigner1,
                 $docusign:Title::InternalSigner1:                            Daniel Malone
                                                                              $docusign:FullName::Customer1
                 InternalSigner1                                             Name
                                                                               $docusign:Title::Customer1
                 $docusign:DateSigned::InternalSigner1                       $docusign:DateSigned::Customer1
                                                                             1/14/2025
                 1/7/2025
                 ________________________________                            ________________________________
                 Date                                                        Date




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                                             STATEMENT OF WORK (SOW)
                                       DOWNTOWN EMERGENCY SERVICE CENTER
                                       DESC - CONSOLIDATED PSH PORTFOLIO #2
                                        SERVICE PERIOD: 11/01/2024 — 10/31/2025

        I.      WORK STATEMENT

                Downtown Emergency Service Center, “Contractor”, shall provide Permanent Supportive
                Housing for 225 eligible households – single adults who repeatedly interact with the mental
                health, criminal legal, and crisis intervention systems – at DESC - Consolidated PSH Portfolio
                #2 (Project) in accordance with the terms and conditions described herein.

                The total amount of payments made pursuant to this Contract shall not exceed $2,780,449.00
                for the Service Period noted above. This Contract is part of an award made through the U.S.
                Department of Housing and Urban Development (HUD) FY2023 Continuum of Care Program
                process for $2,820,279.00.

                Ongoing funding for the full term of this Contract shall be contingent on Project performance,
                continued funding availability, Project alignment with Homeless planning priorities, and meeting
                the requirements outlined in the Contract and this Statement of Work (SOW).

                The following is incorporated by reference as part of this SOW:

                     1. 24 CFR 578 – Continuum of Care Program

                     2. HUD-approved FY2023 Project Application

        II.     PROGRAM DESCRIPTION

                A.       Outcome

                         Increase and maintain the housing stability of Project participants.

                B.       Indicators

                         The number and percentage of participant households that exit to or retain permanent
                         housing, Project occupancy, and return rate to homelessness as measured in the
                         Homeless Management Information System (HMIS).

                C.       Eligibility

                         Eligible participants are Chronically Homeless individual adults with multiple barriers to
                         housing stability and who are identified as needing Permanent Supportive Housing.

                D.       Definitions

                         1.       Case Management: Individually tailored services to address barriers to housing
                                  stability that are provided in a participant’s home, an office, or other location as
                                  described in a mutually agreed-upon plan of action. Case Management services
                                  may include, but are not limited to: participant engagement, linkages to housing
                                  and housing advocacy, building relationships with landlords, assisting
                                  participants with housing applications, assessment of participant strengths and



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                                  obstacles, safety planning and assessment, individualized goal planning,
                                  linkages with community supports including behavioral health services, care
                                  coordination with other service providers, life skills-building, assistance applying
                                  for public benefits, connections with employment and training opportunities, job
                                  coaching, assistance with social support and enhancing social networks,
                                  assistance documenting eligibility for housing subsidy (including services to
                                  individuals who may not, in the end, be admitted to the Project), documentation
                                  of participant progress in case notes and database, and a variety of other
                                  supports.

                         2.       Chronically Homeless: As defined by HUD, a Homeless adult with a disabling
                                  condition who has either been continuously Homeless for twelve or more months;
                                  or has had at least four episodes of homelessness in the past three years with
                                  each episode separated by seven days, and cumulatively totaling twelve months.

                         3.       Continuum of Care Program (CoC, McKinney): A federally funded program under
                                  HUD authorized by Title IV of the Stewart B. McKinney Homeless Assistance
                                  Act, as amended by the Homeless Emergency Assistance and Rapid Transition
                                  to Housing (HEARTH) Act. The CoC Program is designed to (i) develop
                                  supportive housing and Supportive Services, (ii) encourage innovative
                                  approaches to assist participants’ transition from homelessness, and (iii) promote
                                  supportive housing that enables persons experiencing homelessness to live as
                                  independently as possible.

                         4.       Culturally Competent Services: Within an organization and the services that it
                                  provides, Culturally Competent Services includes a defined set of values and
                                  principles, and demonstrated behaviors, attitudes, policies, and structures, that
                                  enable the organization to work effectively with various populations. With the
                                  understanding of the importance of racial equity and cultural competency in
                                  service delivery and outcomes, Culturally Competent Services shall include:

                                  a.        Accessibility: the Contractor evaluates and modifies the way in which its
                                            services are accessible (language, location, delivery style) to populations
                                            whose modes of engagement are different from the majority population.

                                  b.        Relevance: the Contractor identifies specific culturally-based needs of
                                            populations and modifies the services delivered in order to meet those
                                            needs, including acquiring and institutionalizing cultural knowledge.

                                  c.        Commitment: the Contractor periodically conducts a self-assessment and
                                            reviews its cultural competency, including obtaining input from participant
                                            and non-participant culturally diverse populations and key community
                                            members and uses this feedback in policy making, agency administration,
                                            and service delivery.

                         5.       Fair and Just Practices: The Contractor’s policies, practices, attitudes, services,
                                  and systems that promote fairness and opportunity for all people, particularly
                                  marginalized communities, including people of color, low-income communities,
                                  people with limited English proficiency, immigrants and refugees, individuals with
                                  disabilities, and Lesbian, Gay, Bisexual, Transgender, Queer, or Questioning
                                  (LGBTQ) individuals. Fair and Just Practices require that Project staff engage all



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                                  communities in a manner that fosters trust among people and supports efforts to
                                  develop solutions on individual, organizational, and community levels.

                         6.       Foundational Community Supports (FCS): FCS provides targeted Medicaid
                                  benefits to assist eligible participants with complex health needs obtain and
                                  maintain stable housing and/or employment. More information on eligible
                                  services can be found at the Wellpoint FCS Page:
                                  https://www.provider.wellpoint.com/washington-provider/patient-
                                  care/foundational-community-supports

                         7.       Harm Reduction: A set of practical strategies that reduce the negative
                                  consequences associated with drug use, including safer use, managed use, and
                                  non-punitive abstinence. These strategies meet drug users "where they're at,"
                                  addressing conditions and motivations of drug use along with the use itself. Harm
                                  Reduction acknowledges an individual's ability to take responsibility for their own
                                  behavior. This approach fosters an environment where participants can openly
                                  discuss substance use without fear of judgment or reprisal, and does not
                                  condone or condemn drug use. Staff working in a Harm Reduction setting work in
                                  partnership with participants, and are expected to respond directly to
                                  unacceptable behaviors, whether or not the behaviors are related to substance
                                  use. Harm Reduction may also be broadened to reduce harms related to health
                                  and wellness as well as many other issues.

                         8.       Homeless: The definition can be found at the King County Department of
                                  Community and Human Services (DCHS) website:
                                  https://kingcounty.gov/depts/community-human-
                                  services/contracts/requirements/division-contract-requirements.aspx

                         9.       Housing First: A homelessness system orientation designed to return Homeless
                                  people to housing as quickly as possible without conditions. Projects in a
                                  Housing First system empower Homeless people to overcome barriers to
                                  obtaining permanent housing. A Housing First system does not require that
                                  households spend time in a shelter or graduate from a transitional housing
                                  project in order to receive Permanent Supportive Housing, although many
                                  households will enter housing from a shelter. In order to achieve a Housing First
                                  system orientation, Homeless housing units in the system must remove
                                  screening barriers and screen in Homeless households, many of whom may
                                  have barriers that traditionally make it more difficult for them to rent in the private
                                  market.

                         10.      Housing Stability Plan: A plan created with the Project participant(s), as part of
                                  the Housing Support Services, to address a variety of issues related to a
                                  household’s ability to maintain and improve their housing situation. The Housing
                                  Stability Plan shall define the services requested by the household, how these
                                  services shall be delivered, and how progress shall be measured. The plan may
                                  include strategies for addressing basic and clinical care needs, developing
                                  positive social support networks, and assessing needs and gaps in current
                                  Supportive Services.

                         11.      Housing Support Services: Services provided for the purpose of housing
                                  stabilization for participants. Housing Support Services include providing day-to-



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                                  day support for participants, including addressing lease violations, crisis
                                  intervention and response both during the day and night, mitigating issues in the
                                  neighborhood, and ongoing assistance maintaining connections to needed
                                  community services.

                         12.      Moving-On Strategy: A strategy where households of Permanent Supportive
                                  Housing with intensive services, who no longer need high-intensity services in
                                  order to maintain housing and who want greater independence, may be provided
                                  with the option (and often assistance) to move into affordable housing with less
                                  service supports. The households may be supported throughout the shift to new
                                  housing and provided services on an as needed basis.

                         13.      Permanent Supportive Housing: Non-time limited affordable housing for a
                                  household that is Homeless on entry, and has a condition or disability, such as
                                  mental illness, substance use, chronic health issues, or other conditions, that
                                  create multiple and serious ongoing barriers to housing stability. Households
                                  need a long-term high level of services in order to meet the obligations of
                                  tenancy and maintain their housing. This housing uses a rental agreement or
                                  lease and property or building management, with Housing Support Services
                                  support, incorporates a culture of eviction avoidance, reinforced through
                                  practices and policies that prevent lease violations and evictions among
                                  participants, and evict participants only when they are a threat to self or others.
                                  Households have access to a flexible array of comprehensive services, mostly on
                                  site, such as medical and wellness, mental health, substance use,
                                  vocational/employment, and life skills. Services are Voluntary Services and are
                                  available and encouraged but are not to be required as a condition of tenancy.
                                  There is ongoing communication and coordination between supportive service
                                  providers, property owners or managers, and/or housing subsidy Projects.
                                  Permanent Supportive Housing may be facility-based or scattered-site.

                         14.      Progressive Engagement: A service delivery approach and Homeless system
                                  orientation that entails (a) individualized services that are responsive to the
                                  needs of each household, (b) an initial assessment and services that address the
                                  immediate housing crisis with the minimal services needed, (c) frequent re-
                                  assessment that determines the need for additional services, (d) services that
                                  are voluntary and build on the strengths and resources of each household, (e)
                                  households exited to permanent housing as soon as possible, and (f) the ability
                                  to access assistance if a household faces homelessness again.

                         15.      Resident Services: Property-based services that coordinate on-site activities and
                                  information and referral services for the purpose of accessing services offered by
                                  third-party providers. Resident Services promote resiliency and stability through
                                  community asset building. Examples of Resident Services include after-school
                                  programs, employment programs, adult education programs, childcare,
                                  community safety, language access, and participant leadership opportunities.
                                  Resident Services may be available through referral and/or on site with at least
                                  one Contractor staff member to coordinate and deliver services. Classes and
                                  activities based on participant needs may be offered on site.

                         16.      Service Period: The period of time during which Contractor will be paid, funded,
                                  or reimbursed according to the terms and conditions of this Contract. If no other



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                                  date is listed in this Contract, the Service Period shall begin when this Contract
                                  becomes effective, which is the last date of signature of the Contract.

                         17.      Supportive Services: A variety of services designed to broadly and adaptively
                                  support housing stability, life skills, and basic needs of Project participants.
                                  Project staff offer Supportive Services to all Project participants in alignment with
                                  the Terms and Conditions described within this contract.

                         18.      Trauma-Informed Care: An approach to working with people that understands,
                                  recognizes, and responds to the impacts of trauma. Providing Trauma-Informed
                                  Care requires the Contractor to recognize that a participant’s experience may
                                  include different types of trauma in their lives and their responses may vary.
                                  Trauma-Informed Care means the Contractor shall orient its organization,
                                  environment, service, and day-to-day interactions around the impacts of trauma.

                         19.      Twenty-Four Hour Desk Staff(-ing): The Contractor shall staff the front desk
                                  twenty-four hours a day, 7 days a week. Such staff shall admit participants into
                                  the building, check in and monitor guests, monitor security cameras, conduct
                                  floor checks, and respond to participants who need assistance after business
                                  hours.

                         20.      Voluntary Services: Flexible services designed primarily to help participants
                                  maintain housing. Voluntary Services are those that are available to, but not
                                  demanded of, participants (one’s housing is not dependent on participation in
                                  services), such as Housing Support Services, Case Management, physical and
                                  mental health care, substance use management and recovery support, job
                                  training, literacy and education, youth and children's programs, and money
                                  management. While services are not a condition of tenancy, providers may
                                  employ motivational interviewing and other techniques to engage participants in
                                  services.

                E.       Project Requirements

                         1.       HUD CoC Program Rule Requirements

                                  a.        The Contractor shall comply with the terms and requirements of the HUD
                                            CoC Program Rule incorporated herein by reference, and keep up to date
                                            on any changes to those terms and requirements as communicated by
                                            HUD.

                                  b.        The Contractor shall match all CoC grant funds, except for leasing funds,
                                            with funds from non-CoC cash or in-kind sources (Match) as certified in
                                            the Project application to HUD. The Contractor shall match 25 percent of
                                            the total CoC award spending, with non-CoC cash or in-kind sources. All
                                            funds or in-kind contributions used as Match shall be tied to one or more
                                            participant household(s) receiving CoC subsidy, and shall be listed as an
                                            eligible expense under 24 CFR 578, and shall adhere to requirements
                                            specified in 24 CFR 578.73.

                                  c.        The Contractor shall comply with the Lead-based Paint Poisoning
                                            Prevention Act and applicable regulations in 24 CFR 35, Parts A, B, M
                                            and R.



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                                  d.              The Contractor shall ensure that the participant’s occupancy charge or
                                                  rent is calculated as specified in 24 CFR 578.77.

                         2.       The Contractor shall maintain Permanent Supportive Housing units for 225
                                  households who are eligible as defined by Section II.C. The units are located
                                  across four projects, as described below:

                                  a.              The Evans House project is located at 415 10th Ave. Seattle and provides
                                                  75 units of Permanent Supportive Housing, of which 26 are supported by
                                                  CoC Program funds. (HMIS project name: Evans House – CoC)

                                  b.              The Canaday House project is located at 424 Minor Ave N., Seattle and
                                                  provides 83 units of Permanent Supportive Housing. All units are
                                                  supported by CoC Program funds. (HMIS project name: Canaday House)

                                  c.              The 1811 Eastlake project is located at 1811 Eastlake Ave N., Seattle
                                                  and provides 75 units of Permanent Supportive Housing, of which 50 are
                                                  supported by CoC Program funds. (HMIS project name: 1811 Eastlake
                                                  Ave N– CoC)

                                  d.              The Cottage Grove Commons project is located at 5444 Delridge Way
                                                  SW., Seattle and provides 66 units of Permanent Supportive Housing. All
                                                  units are supported by CoC Program funds. (HMIS project name: Cottage
                                                  Grove Commons – CoC)

                         3.       The Contractor shall:

                                  a.              Hire and maintain the following staff for DESC - Consolidated PSH
                                                  Portfolio #2 for the duration of this Contract:

                                            i.           2.5 Full-Time Equivalent (FTE) Project Managers

                                            ii.          1.5 FTE Clinical Support Specialists

                                        iii.             1.8 FTE Residential Counselor Supervisors

                                        iv.              8.0 FTE Residential Counselors

                                            v.           1.0 FTE Maintenance

                                        vi.              2.5 FTE Janitorial

                                       vii.              1.8 FTE On-Call

                                  b.              Provide Twenty-Four Hour Desk Staffing. Twenty-Four Hour Desk Staff
                                                  shall be trained in crisis intervention.

                         4.       Policies and Procedures

                                  The Contractor shall have written policies and procedures that are applicable to
                                  the Project and cover the provisions described in this Section II.E. ‘Project
                                  Requirements’. Participants shall be given access to these policies and



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                                  procedures upon admission or as soon as reasonably possible. Policies and
                                  procedures provided to the Project participants shall include the following:

                                  a.              Rights and responsibilities of Project participants;

                                  b.              Policy for ending, denying, limiting, or restricting any person services or
                                                  access to the facility;

                                  c.              Clear eviction appeal processes and due process for all participants;

                                  d.              Lease bifurcation such that a tenant or lawful occupant who is a victim of
                                                  a criminal act of physical violence committed against them by another
                                                  tenant or lawful occupant is not evicted, removed, or penalized if the other
                                                  is evicted; and

                                  e.              Participant grievance procedure, which shall include options to file written
                                                  and verbal grievances without undue bureaucratic burden and with
                                                  options to elevate the grievance to a third party if the internal grievance
                                                  procedure is exhausted. The Contractor shall retain documentation of any
                                                  participant grievances, including written communications, in the
                                                  participant file.

                         5.       Screening Criteria

                                  a.              The Contractor shall ensure Housing Support Services and the participant
                                                  selection criteria used by the Contractor adhere to Housing First practice,
                                                  and the eligibility requirements outlined in Section II.C, Eligibility, of this
                                                  SOW.

                                  b.              The Contractor shall conduct assessments of screened/referred
                                                  participants for either (i) final acceptance into the Project or (ii) referral to
                                                  other resources.

                                  c.              The Contractor shall retain all required documentation of eligibility, which
                                                  includes but is not limited to income and Chronically Homeless
                                                  verification, in the participant file. Eligibility documentation shall adhere to
                                                  the specifications outlined in the following regulations:

                                            i.            Income: 24 CFR Section 578.103(a)(7).

                                            ii.           Chronically Homeless Verification: 24 CFR Section 578.103(a)(4).

                                        iii.              Disability: 24 CFR Section 578.103(a)(4)(i)(B).

                                  d.              The Contractor shall not have additional screening for Project eligibility
                                                  unless the criteria are contractually required by a Project funder, which
                                                  includes eviction history, credit history, private landlord debt, etc.

                         6.       Supportive Services




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                                  The Contractor shall provide Case Management, Housing Support Services, and
                                  Resident Services that focus on the elimination of barriers to securing and
                                  maintaining permanent housing. To do so, the Contractor shall:

                                  a.        Create a Housing Stability Plan for each participant household and
                                            provide Case Management services that are aligned with each such plan.

                                  b.        Ensure all Housing Support Services meetings, referrals, and outcomes
                                            are documented and inform the Housing Stability Plan.

                                  c.        Ensure that all participant households have a lease with the head of
                                            household listed as a tenant on the lease. The lease shall have a term of
                                            at least one year, which shall renew automatically for successive terms of
                                            a minimum of one month, and shall terminate only for cause. The
                                            Contractor shall provide a copy of the lease to the participant household
                                            and shall keep a copy in the participant household file.

                                  d.        Have an established formal process for termination of assistance to
                                            Project participant households. The process shall be written and provide
                                            for due process. Written termination policies and Project rules shall be
                                            provided to all participant households upon entry.

                                  e.        Where complementary services are provided by a third party, the
                                            Contractor shall coordinate with the third party to maximize available
                                            resources and to achieve the best possible outcomes for participants.

                         7.       Service Delivery Models

                                  The Contractor shall provide Supportive Services and operate from a framework
                                  that incorporates the following:

                                  a.        Culturally Competent Services;

                                  b.        Fair and Just Practices;

                                  c.        Harm Reduction;

                                  d.        Housing First;

                                  e.        Progressive Engagement;

                                  f.        Trauma-Informed Care; and

                                  g.        Voluntary Services.

                         8.       Access/Participant Rights and Responsibilities

                                  The Contractor shall:

                                  a.        Comply with all applicable provisions of the Americans with Disabilities
                                            Act (ADA), including ensuring participant access to assistive animals;




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                                  b.        Make the Project accessible to all participants, including transgender and
                                            non-binary participants, in their self-defined gender; and

                                  c.        Communicate the policies and procedures referenced in Section II.E.3 of
                                            this SOW in a manner accessible to the participant.

                         9.       Staff Training: The Contractor shall provide staff reasonable access to training
                                  opportunities in Equity, Diversity, and Inclusion (EDI); Service Delivery Models;
                                  and other areas to support case managers and service delivery.

                         10.      Participant Feedback: The Contractor shall solicit and incorporate participant
                                  feedback into the Project for the purposes of improving participant experience
                                  and outcomes. This process through which the Project solicits and incorporates
                                  feedback shall be documented in the Project’s policies and procedures.

                         11.      Moving-On Strategy: The Contractor shall communicate Moving-On Strategy
                                  options to participants at enrollment and shall incorporate a Moving-On Strategy
                                  in the Housing Stability Plan for participants who want greater independence, as
                                  applicable.

                         12.      The Contractor shall leverage FCS (i.e., tenancy supports and housing Case
                                  Management) for Medicaid-eligible participants with complex medical need(s)
                                  who meet one or more of four defined risk factors. The Contractor shall work
                                  towards securing a staff-to-participant ratio of between 1:15 to 1:20. More
                                  information can be found at the Wellpoint FCS Page:
                                  https://www.provider.wellpoint.com/washington-provider/patient-
                                  care/foundational-community-supports

                         13.      Leveraging Other Fund Sources: The Contractor shall leverage other fund
                                  sources to the greatest extent possible.

                         14.      Project Changes: The Contractor shall not make any significant changes to an
                                  approved Project without prior written consent of DCHS. Significant changes
                                  include, but are not limited to, a change in the agency providing the Supportive
                                  Services, a change in the Project site, additions or deletions in the types of
                                  activities listed in this SOW, a shift of more than ten percent of funds from one
                                  approved type of activity to another over the term of this Contract, or a change in
                                  the category of participants to be served. If changes are necessary and approved
                                  by DCHS, such changes shall be formalized in a written amendment signed by
                                  both parties.

                         15.      Participation in Coordinated Entry (CE): The Contractor shall participate in CE
                                  (formerly Coordinated Entry for All [CEA]), the coordinated entry and assessment
                                  system for King County. The requirements for CE participation are specified on
                                  the DCHS website: https://kingcounty.gov/depts/community-human-
                                  services/contracts/requirements/division-contract-requirements.aspx

                         16.      HMIS requirements: The Contractor shall participate in the HMIS as specified on
                                  the DCHS website: https://kingcounty.gov/depts/community-human-
                                  services/contracts/requirements/division-contract-requirements.aspx




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                         17.      Continuum of Care System-Wide Performance Measures: The Contractor shall
                                  exceed designated minimums and demonstrate progress towards the Seattle-
                                  King County Continuum of Care System-Wide Performance Standard targets as
                                  specified on the DCHS website: https://kingcounty.gov/depts/community-human-
                                  services/contracts/requirements/division-contract-requirements.aspx

                         18.      DCHS Web-Referenced Definitions or Requirements Site Language: If any
                                  changes are made to web-referenced definitions or requirements, DCHS shall
                                  inform the Contractor by email, in writing, or via DocuSign within two business
                                  days. It shall be the Contractor’s responsibility to review the definition changes
                                  via the website and to inform the DCHS contract manager when the definition
                                  review is completed, by email, in writing or via DocuSign.

                         19.      Unless this SOW provides otherwise, all work performed and services delivered
                                  by the Contractor during the Service Period shall be in conformance with the
                                  requirements and descriptions of this SOW and be in compliance with all other
                                  terms and conditions of this Contract.

        III.    COMPENSATION AND METHOD OF PAYMENT

                A.       Billing Invoice Package (BIP)

                         1.       The Contractor shall submit a BIP monthly that consists of an invoice statement
                                  along with detailed expenditures of actual expenses and information as stated in
                                  Section IV, REPORTING REQUIREMENTS, of this SOW in a format approved
                                  by DCHS.

                         2.       The Contractor shall retain on file complete backup documentation for all
                                  invoiced costs (including receipts, invoices, timesheets, copies of checks) which
                                  shall be made available upon request.

                         3.       The BIP is due within ten working days after the end of each month. Contractor’s
                                  obligation to submit a BIP shall not begin until after the effective date of this
                                  Contract.

                B.       Method of Payment

                         1.       Reimbursement shall be made monthly.

                         2.       The Contractor shall apply the funds to the Project in accordance with the line-
                                  item budget summary below:

                                   Line-Item Budget Summary                         Amount
                                   Supportive Services                             $227,896.00
                                   Operating Costs                                $2,512,624.00
                                   Project Administrative Costs                      $39,929.00
                                                                      Total       $2,780,449.00

                         3.       The Contractor shall not invoice and charge DCHS for costs incurred outside of
                                  the Service Period unless DCHS has provided prior written approval.



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                         4.       The Contractor shall charge DCHS costs as outlined in this budget and shall
                                  ensure all expenditures expensed to each line-item are eligible in accordance
                                  with the following:

                                  a.        Supportive Services: Expenses associated with addressing the special
                                            needs of Project participants that are necessary to obtain and maintain
                                            housing. All costs shall be tied to eligible Supportive Services as specified
                                            by 24 CFR Section 578.53.

                                  b.        Operating Costs: Expenses associated with property and facilities
                                            maintenance, including property management, maintenance staff, utilities,
                                            building repair professional fees, cleaning and repair supplies, elevator
                                            and fire system maintenance, and property insurance. All costs shall be
                                            tied to eligible operating activities as specified by 24 CFR Section 578.55.

                                  c.        Project Administrative Costs: Expenses associated with administrative
                                            activities related to the planning and execution of this Project, including
                                            salaries and benefits of administrators involved with the general
                                            management, oversight, and coordination of the Project outlined in this
                                            SOW. All costs shall be tied to eligible administrative activites as specified
                                            by 24 CFR Section 578.59.

                                  d.        For indirect costs, the Contractor may charge and DCHS shall pay their
                                            federally recognized indirect cost rate OR the de minimis rate of 16% of
                                            modified total direct costs.

                         5.       DCHS shall review, on a monthly basis, the Contractor’s level of expenditure
                                  during the Service Period as reported on invoices and compared to the
                                  Contractor’s allocated amount for that period. Failure to expend funds at the
                                  projected rate may result in a reduction of funds to the Contractor. The level of
                                  fund reduction shall be negotiated between DCHS and the Contractor with DCHS
                                  retaining the authority to set the reduction level. Any unspent funds may be
                                  recaptured by DCHS.

                         6.       Payment to the Contractor may be withheld for any period in which the
                                  Contractor has not satisfied the reporting requirements specified in Section IV,
                                  REPORTING REQUIREMENTS, of this SOW, or in which such reports or
                                  documentation required by this Contract are incomplete.

                         7.       If total services provided are below 90 percent of the minimum performance
                                  requirements as stated in Section II.E, Project Requirements, payment for
                                  services rendered that period shall be reduced. Payment reductions shall be no
                                  more than the percentage of total performance below the 90 percent level. DCHS
                                  retains the authority to set the actual reduction level. Payment reductions in
                                  accordance with this clause shall be made based on data presented in
                                  contractually required reports. The Contractor shall not regain the reduced
                                  amount in subsequent months.

                         8.       The Contractor shall advise DCHS of any changes in revenues from sources
                                  other than DCHS that are used to provide the services funded under this




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                                  Contract. The Contractor shall re-negotiate performance requirements if DCHS
                                  determines that such changes are substantial.

                         9.       The Contractor shall not invoice and charge DCHS for incurred costs which are
                                  also specifically paid for by another source of funds.

                         10.      With written approval from DCHS, the Contractor may make changes to the line-
                                  item Project budget, within ten percent of the total budget, without requiring an
                                  official contract amendment.

        IV.     REPORTING REQUIREMENTS

                A.       The Contractor shall report changes to staffing that differ from the minimum staffing
                         requirements included in this SOW. Such notice shall be provided within one month, and
                         be included as comments with the BIP.

                B.       The Contractor shall submit a Match report to DCHS on a quarterly basis, in a format
                         agreed upon and approved by DCHS.

                C.       The Contractor shall review the HMIS data each month to confirm that counts of new
                         participant households, exits, unit nights, and participant households served are
                         accurate, complete, and up to date for the contract associated with this Project in HMIS.
                         DCHS may export required reporting data from HMIS, including demographics, as
                         needed.

                D.       The Contractor shall review the HMIS Data Quality Report posted each month on the
                         HMIS website and ensure data completeness.

                E.       Reporting requirements for the DESC Consolidated PSH Portfolio #2 Project are
                         contained in the annual report for HUD, “Annual Progress Report for Competitive
                         Homeless Assistance Programs,” (APR). In order for DCHS to submit a timely and
                         complete APR to HUD, the Contractor shall submit a final APR, as pulled from HMIS,
                         and any required supplemental information to DCHS by no later than November 30,
                         2025.

                F.       Due to the irregularity of reporting dates and contract dates, the Contractor may be
                         required to submit reports to DCHS after the Contract expires, in order to capture a
                         complete set of data for the services and housing provided to participants.

                G.       The meeting and reporting requirements of this Section IV. shall begin on the date this
                         Contract becomes effective.

        V.      MONITORING AND EVALUATION REQUIREMENTS

                A.       The Contractor shall cooperate fully with DCHS in scheduled monitoring to determine
                         Contract compliance. DCHS shall request the Contractor’s attendance and participation
                         with 14 calendar days’ advanced notice.

                B.       The Contractor shall participate as requested in DCHS evaluation activities.




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                C.       DCHS reserves the right to review documentation pertaining to compliance with Project
                         Requirements and fiscal requirements as outlined in Sections II. and III. of this SOW.
                         Documentation reviewed may include but is not limited to:

                         1.       Policies and Procedures;

                         2.       Participant-specific documentation regarding eligibility, intake, annual
                                  assessments, Case Management, Housing Stability Plan, and exits, as
                                  applicable;

                         3.       Grievances;

                         4.       System performance data; and

                         5.       Financial records.

                D.       DCHS reserves the right to request additional supporting documentation or information,
                         as needed, and between reporting periods. A minimum of three business days’ notice
                         shall be provided to the Contractor. If the Contractor believes such notice is inadequate
                         to prepare the report, it shall work with DCHS to adjust the due date for additional
                         requested information.




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                                                           ATTACHMENT A
                                                   FEDERAL AWARD IDENTIFICATION

                                  DOWNTOWN EMERGENCY SERVICE CENTER – KING COUNTY
                                            (Pursuant to 2 CFR 200.332(a)(1))

           (i) Agency Name (which must match the                  Downtown Emergency Service Center
           name associated with its unique entity identifier)
           (ii) Agency’s Unique Entity Identifier                 KTY3NEXN42K7
           (UEI)
           (iii) Federal Award Identification Number              WA0018L0T002316
           (FAIN)
           (iv) Federal Award Date                                July 3, 2024

           (v) Subaward Period of Performance                     11/1/2024 – 10/31/2025
           Start and End Date
           (vi) Subaward Budget Period                            11/1/2024 – 10/31/2025
           Start and End Date
           (vii) Amount of Federal Funds obligated                $2,780,449.00
           by this action by the pass-through entity
           to the Subrecipient
           (viii) Total Amount of Federal Funds                   $2,780,449.00
           obligated to the Subrecipient by the
           pass-through entity including the
           current financial obligation
           (ix) Total Amount of the Federal Award                 $2,780,449.00
           committed to the Subrecipient by the
           pass-through entity
           (x) Federal Award Project Description                  DESC - Consolidated PSH Portfolio #2
           (as required to be responsive to the Federal
           Funding Accountability and Transparency Act
           (FFATA))
           (xi) Name of Federal Awarding Agency                   HUD
           (pass-through entity, and contact information for      Seattle Regional Office
           awarding official of the pass-through entity)
                                                                  909 1st Ave #200
                                                                  Seattle, WA 98104
           (xii) Assistance Listing CFDA Number                   14.267, Continuum of Care Program
           and Name (the pass-through entity must
           identify the dollar amount made available under
           each Federal award and the assistance listing
           number at time of disbursement)

           (xiii) Identification of whether the award             No
           is R&D
           (xiv) Indirect Cost Rate for the Federal               16%
           Award (including if the de minimis rate is
           charged per § 200.414 Indirect (F&A) costs)
           Is the Agency a Subrecipient for the                   Yes
           Purposes of this Agreement?
           [Yes = Subrecipient / No = Contractor or
           Beneficiary]




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